Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 1 of 112 PageID #: 308




        EXHIBIT A
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 2 of 112 PageID #: 309


                                  Name
                           AARON D BEACOM
                           AARON D SANFORD
                         AARON E MUHAMMAD
                         AARON R WHITEHEAD
                             AARON STANLEY
                           ABBEY E JOHNSON
                               ABBIE L PAGE
                              ABBY L BALAZS
                           ABENA I GALLEGOS
                            ADA E HILLSTROM
                             ADAM ABSHIRE
                             ADAM BUTTICE
                             ADAM C PIXLER
                             ADAM C PIXLER
                             ADAM C SNOW
                              ADAM C SOLL
                          ADAM J BLACKWELL
                          ADAM J BLACKWELL
                             ADAM M LOPEZ
                         ADAM MODZELEWSKI
                         ADAM W MCCULLOCH
                           ADRIAN A SMADES
                            ADRIAN R FRANK
                            ADRIANA L REESE
                             ADRIANA SORIA
                             ADRIANE ALICEA
                           ADRIANE L LAMAR
                           ADRIANN KARRICK
                          ADRIENNE B STCLAIR
                           ADRIENNE L TODD
                        ADRIENNE M PATTERSON
                           ADRIENNE R MACY
                         ADRIENNE W MEDINA
                              ADRIUS R KING
                        AFSANEH MOSLEMZADEH
                             AGNES Q PARKS
                            AHMAD QUDISAT
                         AHMAD W SEKANDAR
                          AIESHA B CALLAHAN
                               AIMEE COOK
                               AIMEE J EARL
                         AKACHUKWU U OKEKE
                              AKIRA JEROME
                          AKOSUA OWUSUAA
                              AL M AFALAVA
                             ALAIN R DECADE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 3 of 112 PageID #: 310


                             ALAIN R DECADE
                              ALAN D GUERRA
                               ALAN E ZEFFER
                               ALAN E ZEFFER
                             ALAN H PHILLIPS
                              ALAN J DIOLATA
                          ALAN M HERRINGTON
                               ALAN S EVANS
                            ALAN S ZACHARIAS
                               ALAN W GRILLI
                            ALANA M DOLLARD
                             ALANNA K FOLEY
                          ALAYNA M BOCHENEK
                              ALBERT E SMITH
                           ALBERT E WOOLUM
                            ALBERT J AGUILAR
                            ALBERTO SABOGAL
                            ALECIA D GRAHAM
                           ALECIA M CHANDLER
                          ALEISHA M MCKENZIE
                           ALETA M PERRYMAN
                           ALETHEIA L LINDSEY
                               ALEX A PEREZ
                                ALEX J SMITH
                             ALEX JOHNSON JR
                         ALEXANDER D MOREJON
                           ALEXANDER E RODO
                           ALEXANDER PACHOS
                        ALEXANDER THURDEKOOS
                             ALEXANDRA D HO
                          ALEXANDRA J PHILLIPS
                         ALEXANDRA M GORMAN
                        ALEXANDRIA M FIGUEROA
                           ALEXIA S MORRISSEY
                              ALEXIS S DAILEY
                           ALEXIS S GARIBALDI
                           ALFRED R HARRISON
                             ALI J KAZEMPOUR
                               ALICE M KING
                           ALICE M THOMPSON
                             ALICE N SIGFRIDS
                            ALICIA A HARRISON
                             ALICIA C AKAKPO
                           ALICIA C MARGHEIM
                              ALICIA GLEASON
                               ALICIA L BAZE
                            ALICIA MATTHEWS
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 4 of 112 PageID #: 311


                              ALICIA N PUSEY
                              ALICIA N PUSEY
                       ALICIA R CAUTHEN-THOMAS
                             ALICIA R THOME
                               ALICIA SLISZ
                              ALICIA WALKER
                            ALINA V DERZHAY
                              ALISA D ADAMS
                         ALISHA L BEDENBENDER
                        ALISON A HIGGINBOTHAM
                              ALISON FINGAR
                            ALISON HORVATH
                                ALLAN EKA
                             ALLAN R LOUCKS
                        ALLEN E HIGGINBOTHAM
                           ALLISON A BRUNNER
                           ALLISON C GOFORTH
                             ALLISON H EVANS
                             ALLISON W BORG
                            ALLISTER T DIXON
                          ALVARO A MARTINEZ
                          ALVARO A MARTINEZ
                             ALYCIA L ARTHUR
                             ALYSIA G JULIAN
                            ALYSON M BESON
                           ALYSON M CHARLES
                              ALYSSA L ARCH
                          AMANDA A BEAFORE
                           AMANDA A WRIGHT
                           AMANDA B WEIDLER
                           AMANDA B WEIDLER
                            AMANDA C WOOD
                          AMANDA D PITTMAN
                            AMANDA E MAUS
                             AMANDA E RULE
                            AMANDA G MEEKS
                            AMANDA J DRAKE
                           AMANDA J HARRISS
                      AMANDA K CHUDY THOMPSON
                              AMANDA KING
                          AMANDA L ARMITAGE
                          AMANDA L ARMITAGE
                            AMANDA L BECKER
                            AMANDA L GRIDER
                         AMANDA L HERTZBERG
                            AMANDA L KELLAR
                            AMANDA L REPKA
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 5 of 112 PageID #: 312


                            AMANDA L REPKA
                          AMANDA L SLAYTON
                        AMANDA L STUBBLEFIELD
                       AMANDA M ABIGT-HANSEN
                          AMANDA M ALLUM
                       AMANDA M APANASEWICZ
                         AMANDA M CHAFFIN
                          AMANDA M KOVATS
                        AMANDA M SCHMELTZER
                            AMANDA MEIKLE
                            AMANDA N POPE
                            AMANDA N RALLS
                           AMANDA R WYATT
                          AMANDA S DELONG
                          AMANDA S JORDAN
                           AMANDA S TIEKEN
                           AMANDA VARGAS
                           AMANDA WAGNER
                           AMBER B BURDEN
                            AMBER D BEVARS
                           AMBER D COOPER
                           AMBER D COOPER
                           AMBER D STUARD
                             AMBER E ALLEN
                           AMBER E MOSSER
                         AMBER L ESSELSTROM
                          AMBER L WILLIAMS
                             AMBER M RILEY
                           AMBER M STRONG
                              AMBER N CASS
                         AMBER R LASKOWSKI
                             AMBER R SCOTT
                             AMBER R SCOTT
                            AMBER R TAYLOR
                            AMBER S COWAN
                            AMBRIA N CASEY
                           AMELIA D WALKER
                           AMELIA J LANGLEY
                           AMELIA J LANGLEY
                             AMIA Y MILLER
                           AMIEE R MENDOZA
                           AMIEE R MENDOZA
                           AMINA H KARGBO
                          AMINA I HOBBALLAH
                             AMORIO PARISH
                           AMOS DAWSON JR
                             AMUNA YISRAEL
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 6 of 112 PageID #: 313


                           AMY A LANCASTER
                              AMY A TOLER
                                AMY ALLEN
                           AMY C MORRISON
                               AMY CHERRY
                               AMY COLON
                            AMY D MELCHER
                                AMY DEAN
                                AMY DOTY
                              AMY E DAIGLE
                           AMY E O'CONNOR
                            AMY E PELLEGRIN
                               AMY E WEBB
                            AMY GUSTAFSON
                              AMY HEACOCK
                            AMY K HOLDREN
                              AMY L ADAMS
                            AMY L BRIMMER
                             AMY L CARLTON
                               AMY L CLARK
                              AMY L DURBIN
                            AMY L FELICIANO
                               AMY L LARGE
                              AMY L PFEIFER
                              AMY L PFEIFER
                           AMY L SHUMPERT
                            AMY L WOMACK
                              AMY M KAISER
                            AMY M LOWERY
                              AMY M MEEK
                           AMY M MORROW
                             AMY M TOLLES
                              AMY N WALGE
                              AMY N WALGE
                            AMY PATTERSON
                            AMY R GRAHAM
                           AMY R SCHLEICHER
                              AMY RUSSELL
                             ANA M DEJESUS
                             ANA M WILSON
                              ANAELYS PUIG
                           ANAITULLAH AZIZI
                         ANASTASIA J WHITAKER
                            ANDRA D BURKS
                              ANDRE J PARK
                          ANDREA B CHAMPLIN
                           ANDREA D LENNEN
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 7 of 112 PageID #: 314


                           ANDREA D MALLOY
                            ANDREA DALTON
                          ANDREA E MULLINS
                            ANDREA J EVANS
                           ANDREA J OSTHED
                           ANDREA L BOWERS
                             ANDREA L FREW
                          ANDREA L HOMSHER
                         ANDREA L PATTERSON
                        ANDREA M MIDDLETON
                          ANDREA R WILLIAMS
                           ANDREA RODGERS
                           ANDREA VAZQUEZ
                          ANDREIA N BROOKS
                          ANDREW C JENKINS
                             ANDREW J ARTS
                            ANDREW J BOYER
                          ANDREW L KIERPIEC
                           ANDREW L MOORE
                       ANDREW M ELLINGSWORTH
                        ANDREW P MORONES SR
                          ANDREW T ELSASSER
                        ANDREW W DESNOYERS
                             ANDY T SAYLOR
                           ANDY W WALLACE
                          ANFISA J SHARIPOFF
                             ANGEL A ORTIZ
                         ANGEL A WHITEHEAD
                         ANGEL A WHITEHEAD
                           ANGEL D MALONE
                         ANGEL N BROWNING
                        ANGEL R RIVERA OCASIO
                          ANGELA ALVARADO
                          ANGELA C BASHORE
                          ANGELA C MITCHELL
                          ANGELA C MULLINS
                            ANGELA D CLARK
                         ANGELA D HANSFORD
                            ANGELA D LUNDY
                            ANGELA D SCULLY
                           ANGELA E BOWERS
                         ANGELA G REYNOLDS
                           ANGELA J MORRIS
                             ANGELA JONES
                            ANGELA L AUSTIN
                           ANGELA L RAMBO
                           ANGELA M BYRUM
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 8 of 112 PageID #: 315


                          ANGELA M DOREMUS
                        ANGELA M JACOBSKIND
                            ANGELA M JONES
                       ANGELA M MUKWINDIDZA
                            ANGELA M READ
                            ANGELA M READ
                             ANGELA M SAM
                          ANGELA M SOUTHALL
                          ANGELA M WHITLOW
                         ANGELA N BOLLINGER
                          ANGELA P ENTREKIN
                        ANGELA R BLUMENTHAL
                            ANGELA R MILLER
                           ANGELA S SILVERS
                            ANGELA T NANEY
                            ANGELIA J GRANT
                           ANGELINA D ADAIR
                        ANGELINA D BUONASSISI
                           ANGELINA GOMEZ
                         ANGELINE B FREEMAN
                         ANGELIQUE J BARBARA
                           ANGELITA L COSBY
                         ANGELITA M KOLKMAN
                            ANGELITA M RICE
                         ANGELO C CACCAVALE
                        ANGELQUE M TOLLIVER
                         ANGENETTE S THOMAS
                            ANGIELA T WELLS
                       ANGUS G CAMPBELL-WORK
                          ANIKIA S BILLINGTON
                           ANISHA N HUGHES
                           ANITA A MANGAN
                             ANITA L ALSOP
                            ANITA M HOLLINS
                            ANITA P WRIGHT
                         ANJANETTA L BOLDEN
                            ANN M WILLIAMS
                            ANN M WILLIAMS
                     ANN MARIE L JACQUES-MCCOLM
                             ANNA C BATEY
                           ANNA D LANIEWSKI
                           ANNA M BARRERA
                           ANNA N BALSAMO
                              ANNA Y HAN
                           ANNE B MCMANUS
                             ANNE H VANCE
                             ANNE T MOSES
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 9 of 112 PageID #: 316


                          ANNEMIEKE PETERSON
                           ANNETTE C WILSON
                            ANNETTE F DURIAS
                              ANNETTE L RIOS
                            ANNETTE M NAQUI
                             ANNETTE R HICKS
                             ANNETTE R HICKS
                             ANNIE A WALKER
                               ANNITA C TAN
                            ANSARAE A DOZIER
                         ANTHONY B CSIKORTOS
                        ANTHONY D GRABOWSKI
                            ANTHONY D SMITH
                             ANTHONY D TATE
                          ANTHONY H GRAHAM
                           ANTHONY J DICARLO
                           ANTHONY J DUPLER
                           ANTHONY J KENDALL
                          ANTHONY M GUZMAN
                            ANTHONY P CURRY
                          ANTHONY P HINRICHS
                         ANTHONY R DELLAVALLE
                         ANTHONY R LAFERRARA
                           ANTHONY S BEUTLER
                            ANTHONY T JONES
                            ANTHONY T LARIOS
                          ANTHONY W MCDOW
                          ANTHONY W SCHAFER
                          ANTOINETTE L DANIELS
                         ANTOINETTE L THOMAS
                          ANTOINETTE M LACEY
                              ANTONI CZMIEL
                           ANTONIA G SOTELO
                          ANTONIA M SHEPARD
                          ANTONIETTA B WYATT
                          ANTONIETTA B WYATT
                      ANTONIETTE M FLOWERSDIOUF
                            ANTONIO CASTILLO
                          ANTONIO V PLACENCIA
                              ANTWAN B RICE
                        ANTWANLEBENT T HARRIS
                           ANUOLUWA A GIWA
                             APRIL A SCHMIDT
                           APRIL C BRADSHAW
                            APRIL D HAMILTON
                               APRIL E BRYAN
                           APRIL F OVERSTREET
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 10 of 112 PageID #: 317


                         APRIL G CARRICO-SIRCY
                               APRIL L BRITT
                            APRIL L GOODWIN
                              APRIL L NORRIS
                          APRIL L TRESPALACIOS
                               APRIL M GILES
                            APRIL R LOVELAND
                            ARELLANO,STEVE T
                              ARIANE SIMMS
                         ARISLEYDA VILLARREAL
                              ARLENE GAVIN
                           ARMANDO VARGAS
                            ARNITA M TOBIAS
                         ARNOLDO CAMPOS SR
                         ARNOLDO CAMPOS SR
                          ARRONGZABE T KHAN
                            ARSENIA WILLIAMS
                          ARSENIO HERNANDEZ
                             ARSHIA RAHMAN
                          ARTHUR D EDWARDS
                               ARTHUR DIAL
                             ARTHUR G ASH JR
                           ARTHUR H MITCHELL
                           ARTHUR H MITCHELL
                         ARTHUR J LAPENOTIERE
                          ARTHUR L ALEXANDER
                             ARTHUR T LYNCH
                        ASHLEY B COLLIERMEDLEY
                        ASHLEY B COLLIERMEDLEY
                            ASHLEY B ROBERTS
                             ASHLEY B SCOTT
                              ASHLEY BRADY
                           ASHLEY C BAUGHNS
                           ASHLEY C ROESELER
                           ASHLEY C ROESELER
                              ASHLEY D HALL
                            ASHLEY E VAUGHN
                            ASHLEY E WERLING
                           ASHLEY HOERSTING
                           ASHLEY HOERSTING
                              ASHLEY L BAKER
                           ASHLEY L MCCARTHY
                            ASHLEY M BREHM
                           ASHLEY M DIETRICH
                           ASHLEY M JOHNSON
                        ASHLEY M QUACKENBUSH
                             ASHLEY N GRECO
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 11 of 112 PageID #: 318


                           ASHLEY N WILLCUTT
                           ASHLEY N WILLIAMS
                           ASHLEY R GRAMLING
                              ASHLEY R HICKS
                             ASHLEY RANKINS
                               ASHLEY REECE
                             ASHLEY S PETTUS
                             ATHALIA JOSEPH
                               ATIQ RAHMAN
                            AUBREE K SPENCER
                              AUDRA A STITH
                              AUDRA M CREEL
                           AUDRA RICHARDSON
                             AUDREY C RYALS
                             AUDREY N SMITH
                            AUDREY S TROTTER
                          AUGUSTINA PANETTA
                               AURA L PEREZ
                               AURA L PEREZ
                           AURELINA PEGUERO
                            AUSTIN J SEELBACH
                             AUSTIN K PITMAN
                             AUTUMN D MUIR
                                AVA D SIKES
                               AVERY I HENRY
                              AYANNA L LAW
                             AYESHA OGLESBY
                               AYLA M STARR
                          BABATUNDE G IDOWU
                           BABETTE BRINKMAN
                            BARBARA A ANGEL
                        BARBARA A DOBBERSTEIN
                           BARBARA A DORSEY
                            BARBARA B SALSER
                           BARBARA BEVERAGE
                        BARBARA BUENO-WELTON
                              BARBARA BUSH
                           BARBARA C HARVEY
                              BARBARA GOYA
                          BARBARA J ANDERSON
                         BARBARA J HODDINOTT
                          BARBARA J PAULISON
                           BARBARA J WALLACE
                           BARBARA L DESALVO
                           BARBARA L HUGHES
                           BARBARA M COLON
                           BARBARA M NORTH
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 12 of 112 PageID #: 319


                           BARBARA M ZAHORIK
                             BARBARA S RUBLE
                             BARBRA SIMMONS
                               BARRY E JAKED
                               BARRY L OLSON
                            BASHEER A BERGUS
                                 BASSIL ZAHR
                          BEATRICE BLAKE-SMITH
                             BEATRICE D HEAD
                            BEATRICE J OLKOSKI
                               BECKY K WEEKS
                           BECKY M LOSCHEIDER
                       BELINDA C HAUBENSTRICKER
                              BELINDA FARRIER
                               BELINDA G KAY
                              BELINDA G ORTIZ
                         BENJAMIM J MCDOWELL
                           BENJAMIN A COWAN
                          BENJAMIN C JOHNSON
                          BENJAMIN J DUPLESSIS
                          BENJAMIN J NEWLAND
                            BENJAMIN L HARTLE
                            BENJAMIN MOLNAR
                            BENJAMIN S COLTER
                          BENJAMIN W BIRNEY III
                             BENNY P BESTGEN
                            BENSLEY W BROOKS
                         BERESFORD O KIRTON III
                         BERNADETTE A CARRUTH
                          BERNADETTE A NEVILLE
                        BERNADETTE MINNIFIELD
                            BERNARD A RAMSEY
                          BERNARD F DERVAN III
                           BERNARD R INGRAM
                             BERNICE W HOBBS
                           BERNITA A JOHNSON
                              BERNITA V WATT
                           BERYL A GILBERTSON
                                BETH E VALEK
                                BETH E VALEK
                           BETHANN M ROSSON
                        BETHANY G CUNNINGHAM
                           BETHANY M ANCHOR
                          BETHANY R MATHEWS
                               BETTY E CALER
                               BETTY E CALER
                                BETTY E DEAN
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 13 of 112 PageID #: 320


                                BETTY GRIPE
                               BETTY L HARRIS
                             BEVERLY A GREEN
                             BEVERLY A HARRIS
                        BEVERLY A HILL-BRADSHAW
                          BEVERLY A NICHOLSON
                           BEVERLY A REICHARD
                            BEVERLY BRASHEAR
                           BEVERLY J NEWBERN
                          BEVERLY J SCHOENFELD
                            BEVERLY SAMPSON
                             BEVERLY V JONES
                             BEYUNKA LINDSAY
                             BHASKAR BISWAS
                             BHASKAR BISWAS
                             BIANCA GUERREO
                              BIANCA R MAYS
                                 BILL BIRCH
                                BILL E DIXON
                          BILLIEJEAN A CHIASSON
                              BILLY HUTHMAN
                              BILLY J DUNCAN
                              BINSLAS ANILUS
                              BLAKE J WETZEL
                            BLANCA M PILGRIM
                            BLANCA MARTINEZ
                           BOBBI J CHENOWITH
                               BOBBI J GIVEN
                            BOBBIE L WORDEN
                               BOBBY B ALLEN
                             BOBBY E TURNER
                              BOBBY L BROWN
                              BOBBY W CATO
                              BOBBY W CATO
                           BONITA A CHESTNEY
                           BONNIE C BURGETTE
                              BONNIE C SMITH
                             BONNIE C WILSON
                             BONNIE J FRANCIS
                              BONNIE L FINLEY
                              BONNIE L PRICE
                                BORJA I SUSO
                             BOZIDAR DULOVIC
                             BRAD A MARCUM
                           BRADLEY D STAGNER
                           BRADLEY E STARRETT
                            BRADLEY J BRYANT
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 14 of 112 PageID #: 321


                             BRADLEY K ADAMS
                             BRADLEY S BUTLER
                             BRADLEY T MILLER
                             BRADLEY T MILLER
                             BRADY J ROGHAAR
                             BRADY J ROGHAAR
                              BRANDI G BOLIN
                              BRANDI N DAVIS
                        BRANDIE L GOLEMBIEWSKI
                           BRANDON A BADGETT
                            BRANDON A KOVAL
                         BRANDON E EASTWOOD
                             BRANDON F ALLEN
                         BRANDON J MCQUIRTER
                          BRANDON J MORRISON
                          BRANDON L DOWNARD
                            BRANDON L GREEN
                             BRANDON L SPEER
                             BRANDON L SPEER
                           BRANDON M PEEPLES
                            BRANDON M WEBB
                            BRANDON S BENGE
                             BRANDON YOUNG
                          BRANDY M DEPORRAS
                              BRANDY N SHARP
                           BRANDY P MULLIGAN
                            BRANDY S LENHART
                             BRANDY SCHULTZ
                               BRANDY STEEN
                              BRENDA A AMOS
                              BRENDA A COOK
                              BRENDA A NETTO
                       BRENDA A PURVIS BUCHWALD
                            BRENDA BRAMLETT
                             BRENDA F DILLARD
                             BRENDA G FLAKES
                              BRENDA G SMITH
                           BRENDA J COLOSIMO
                            BRENDA J HOHIMER
                            BRENDA K BRIDGES
                      BRENDA K SOMMERS-MARTINEZ
                            BRENDA K WATSON
                           BRENDA L HARRISON
                            BRENDA L KENDRICK
                               BRENDA L LANG
                           BRENDA L WALBURG
                               BRENDA LOPEZ
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 15 of 112 PageID #: 322


                          BRENDA M STALLINGS
                       BRENDA N LOPEZ BURGHARDT
                           BRENDA P COLEMAN
                            BRENDA R ABAJIAN
                          BRENDA STALLWORTH
                            BRENDAN R DAVIS
                             BRENT C KENYON
                            BRENT HAMMACK
                            BRENT J JOHNSON
                             BRENT S BLOUNT
                             BRENT S BLOUNT
                            BRENTON MOYERS
                            BRENTON MOYERS
                               BRETT H BOLIN
                              BREY N AWAMY
                              BREYLAN T DEAL
                               BRIAN A KANE
                               BRIAN C LITSEY
                              BRIAN C ROYER
                             BRIAN H IBRAHIM
                               BRIAN H KING
                              BRIAN J DUPLER
                             BRIAN J FLETCHER
                                BRIAN J RILEY
                                BRIAN J RILEY
                               BRIAN J SMITH
                              BRIAN K KUHNS
                            BRIAN K NICKOLITE
                             BRIAN M FOWLER
                            BRIAN Q GRAYBEAL
                             BRIAN R BOLMAN
                               BRIAN R RENN
                              BRIAN R STAUB
                              BRIAN S KENNEY
                              BRIAN W WINN
                              BRIANA S DAVIS
                          BRIANNA L ROBINSON
                             BRIANNE L LITTLE
                            BRICE R WHARTON
                             BRIDGET BURTON
                           BRIDGET L FREEMAN
                            BRIDGET L JORDAN
                          BRIDGETT C ANDERSEN
                               BRIDNEY TUNE
                             BRITNEY Y JONES
                            BRITTAIN L LORENZ
                          BRITTANY A MARSHALL
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 16 of 112 PageID #: 323


                              BRITTANY HUNT
                           BRITTANY L HANSON
                        BRITTANY M WANDERLICH
                         BRITTANY N JAMERSON
                          BRITTANY N JOHNSON
                           BRITTANY N MCNEAL
                         BRITTANY RICHARDSON
                            BRITTNEY A JONES
                            BRITTNEY L TORRES
                           BRITTNEY M YOUNG
                           BRITTNEY R JACKSON
                           BRITTNEY R JACKSON
                           BRITTNEY SOLOMON
                          BROCK A MEHRINGER
                              BROCK E UPELL
                             BROOK C MCNEW
                             BROOKE A BERRY
                              BROOKE H FAIL
                         BROOKE K MUHAMMAD
                            BROOKE L BANKER
                            BROOKE L BURGLIN
                         BROOKS QUATTLEDAUM
                            BROOKS RUHMAN
                              BRUCE A SIBLEY
                              BRUCE E GREEN
                          BRUCE E RICHARDSON
                              BRUCE G BAKER
                              BRUCE HUNTER
                           BRUCE L PARKINSON
                               BRUCE S MOIO
                              BRYAN D SHAW
                             BRYAN F SHAMA
                            BRYAN J PROCTOR
                              BRYAN J REPKA
                          BRYAN J SESTERHENN
                           BRYAN K CAMPBELL
                            BRYAN KELNHOFER
                              BRYAN P POLCE
                              BRYAN P WALSH
                               BRYAN R ORR
                                BUFI N MILLS
                             BULMARO FARIAS
                             BUTHO M NCUBE
                             BYRON D NELSON
                          BYRON P MCDANIEL JR
                            CAMESHA D CRAIG
                           CAMILLE BIAMONTE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 17 of 112 PageID #: 324


                            CAMILLE C GRAHAM
                             CAMILLE E MORRIS
                               CAMILLE I ROSE
                            CANDACE A DILLON
                             CANDACE B AVERY
                            CANDACE B NORTH
                             CANDACE D JAMES
                             CANDACE D SHINN
                               CANDACE J BELL
                               CANDACE J BELL
                          CANDACE N WILLIAMS
                            CANDACE RAMIREZ
                         CANDACE S APPLEWHITE
                               CANDI L CROFT
                         CANDICE K KOTENMAYER
                           CANDICE LEIG S GARY
                            CANDICE R GURLEY
                            CANDYCE R ZAVALA
                             CARA G RADFORD
                             CARA G RADFORD
                          CARA L WEESE-COOPER
                          CAREY D BITTENBRING
                         CARI A CORRENTI WOOD
                             CARISSA E MOORE
                           CARL A MACDONALD
                           CARL D WILLIAMSON
                            CARL E JACOBSEN II
                            CARL E MOORMAN
                                CARL J BAKER
                              CARL W GARRETT
                                CARL WATSON
                            CARLA A ANDREWS
                              CARLA J KOEGEN
                               CARLA MELLITO
                                 CARLA WEST
                           CARLEEN P CARRASCO
                             CARLEITTA L PAIGE
                             CARLOS E TORRES
                             CARLOS MARQUEZ
                                CARLOS R PAIZ
                             CARLOS RUSTRIAN
                            CARMEN M PISANO
                              CAROL A GNAGIE
                                CAROL A HOYT
                              CAROL L NUGENT
                         CAROLELYNN DESMOND
                              CAROLINA POSSO
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 18 of 112 PageID #: 325


                              CAROLYN CATO
                              CAROLYN CATO
                           CAROLYN E SHELTON
                            CAROLYN J MILLER
                          CAROLYN M WENGER
                         CAROLYN M WILKERSON
                            CAROLYNE JANVIER
                          CAROLYNN HARRISON
                              CARRI L REJONIS
                             CARRIE A HADLEY
                            CARRIE B SULLIVAN
                             CARRIE L FULLER
                              CARRIE L MILES
                             CARRIE L VOISINE
                             CARRIE M WONG
                            CARSIE L MITCHELL
                             CARYN L WATERS
                               CASEY F RUSH
                            CASEY L NICKOLITE
                              CASEY M SMITH
                            CASEY N MARROW
                            CASSANDRA A BELL
                         CASSANDRA D THOMAS
                         CASSANDRA L SULLIVAN
                          CASSANDRA N SAVAGE
                          CASSANDRA P HOGUE
                         CASSANDRA R JACKSON
                              CASSIE L LEARY
                            CASSIE S TRITTHART
                              CASSIE SULIVAN
                          CATHERINE A WEAVER
                           CATHERINE C CRYDER
                           CATHERINE C KALINA
                            CATHERINE E BECK
                           CATHERINE E TAYLOR
                           CATHERINE J STALLO
                           CATHERINE L JENKINS
                           CATHERINE M BRUCE
                         CATHERINE M MALONE
                           CATHERINE M OWEN
                             CATHERINE MOSS
                         CATHERINE R RANNOW
                             CATHERYN A REID
                         CATHRINE M ROBERSON
                         CATHRINE M ROBERSON
                              CATHY A LYONS
                              CATHY KNAFFLE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 19 of 112 PageID #: 326


                              CATHY L PALOTTA
                             CATRINA A WOODS
                               CAVIN CLAYTON
                      CECEILE A FERGUSON AARONS
                              CECIL R THOMAS
                            CECILIA D GATTUSO
                              CECILIA E ROSILLO
                               CECILIA J SMISEK
                              CECILIA S PEARCE
                             CEDRIC A ENGLISH
                            CEDRIC A PIRZADEH
                               CEDRIC SMALLS
                              CELINA A CRANKE
                                CEOLA K HALEY
                                CERA L BANKS
                              CHAD A LOVELESS
                              CHAD R EVERETT
                             CHAD SCHMERSAL
                           CHAD W HANOHANO
                           CHAD W HANOHANO
                             CHANAY M JACOBS
                           CHANCE S RAWLEIGH
                               CHANEE I LUCAS
                           CHANNIKA WILLIAMS
                           CHANNING A MILTON
                       CHANPHAEN PHANFAITHONG
                            CHANTEL M HUGHES
                      CHANTHALA VONGVIENGKHAM
                           CHARDE K CARPENTER
                             CHARITY L SZILAGYI
                             CHARITY Y HARVEY
                             CHARLA A MCNEIL
                         CHARLENE A LAURICELLA
                          CHARLENE D ROBINSON
                             CHARLENE K SMITH
                            CHARLENE M SMITH
                           CHARLES A CRANKE SR
                           CHARLES A ECKERT III
                            CHARLES A JACKSON
                              CHARLES A LEWIS
                          CHARLES B SCHLEICHER
                              CHARLES C BAGBY
                              CHARLES E JONES
                             CHARLES E MARTIN
                          CHARLES F CAROTHERS
                              CHARLES G SMITH
                         CHARLES G WAGSTAFF JR
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 20 of 112 PageID #: 327


                           CHARLES J LIENHARD
                             CHARLES J MCNEW
                           CHARLES L WISEMAN
                            CHARLES M BYROM
                            CHARLES N JACKSON
                       CHARLES R BRECKENRIDGE JR
                              CHARLES R PARK
                               CHARLES R TATE
                         CHARLES R TYCKOWSKI II
                               CHARLES SCOTT
                              CHARLES V SCOTT
                           CHARLES V WILLIAMS
                             CHARLES W ALLEN
                             CHARLES W GORK
                            CHARLIE M FERRELL
                             CHARLIE Y FRALEY
                          CHARLOTTE A CROCKER
                         CHARLOTTE A ST MYERS
                          CHARLOTTE C GILBERT
                           CHARLOTTE E DORAN
                         CHARLOTTE G MONTOYA
                          CHARLOTTE M SLOTTA
                          CHASITY C BLACKWELL
                          CHASITY C BLACKWELL
                         CHASITY T BIRMINGHAM
                               CHASITY TILLEY
                              CHASTITY MILLER
                            CHAUNCEY BROWN
                            CHAZ T THOMPSON
                             CHELSEA L GUMBY
                            CHELSEA R MORRILL
                             CHENTEI R WILSON
                               CHERI L GARCIA
                               CHERI L GARCIA
                               CHERI M STAAB
                               CHERIE L SAUER
                          CHERLITA N CLAIBORNE
                              CHERYL A ANGEL
                           CHERYL A GRANDAW
                               CHERYL A HICKS
                            CHERYL A PETERSON
                               CHERYL A POPE
                           CHERYL A SANTARELLI
                              CHERYL A TAPPER
                            CHERYL A WILBURN
                             CHERYL B JORDAN
                         CHERYL D BUCKINGHAM
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 21 of 112 PageID #: 328


                              CHERYL E HANDY
                             CHERYL J JACKSON
                              CHERYL L BUTZIN
                               CHERYL L DAVIS
                              CHERYL L HAASE
                         CHERYL SAIDI JOHNSON
                            CHERYL V JOHNSON
                               CHERYL WRONA
                          CHEYENNE M NELSON
                             CHIFFON E GOMEZ
                                CHINEDA SAM
                            CHIQUITA L LOVING
                                CHRIS E GOETZ
                           CHRIS M BUEHNER JR
                          CHRISHANDA CROCKER
                           CHRISHELLE J BERUBE
                             CHRISTA IVALIOTIS
                             CHRISTA IVALIOTIS
                           CHRISTI L SHINABERY
                             CHRISTIAN K DAVIS
                         CHRISTIAN R ALMAGUER
                               CHRISTIE L HESS
                          CHRISTIE L MARGHEIM
                            CHRISTIE L MOTLEY
                            CHRISTIEN A SMITH
                       CHRISTIN A JOHNSTONE-BUER
                            CHRISTIN L RITCHEY
                           CHRISTINA A DELEON
                           CHRISTINA A FRANCO
                              CHRISTINA BLACK
                           CHRISTINA C BARNOR
                        CHRISTINA DE LOS SANTOS
                            CHRISTINA GUZMAN
                            CHRISTINA J SURBER
                          CHRISTINA L GODDARD
                            CHRISTINA L MORSE
                           CHRISTINA M BROWN
                            CHRISTINA M GATES
                         CHRISTINA M HARTUNG
                          CHRISTINA M JACKSON
                            CHRISTINA M SMITH
                           CHRISTINA P STEVENS
                        CHRISTINA R WICHELMAN
                             CHRISTINA S PRIDE
                             CHRISTINA S PRIDE
                           CHRISTINA T WERNER
                           CHRISTINE D BENTLEY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 22 of 112 PageID #: 329


                               CHRISTINE J FEYO
                             CHRISTINE K JOINER
                              CHRISTINE KUNCH
                              CHRISTINE L FISHER
                          CHRISTINE L HORLACHER
                              CHRISTINE L LEMAL
                             CHRISTINE M BURNS
                            CHRISTINE M DRESEL
                            CHRISTINE M FOWLER
                             CHRISTINE M ROYER
                           CHRISTINE M RUDDEN
                       CHRISTINE M VENOSLEVENTIS
                            CHRISTINE N JACKSON
                              CHRISTINE RAMSEY
                          CHRISTOPHER A MILLER
                           CHRISTOPHER A WHITE
                        CHRISTOPHER C GOSTEBSKI
                           CHRISTOPHER D BUCCI
                         CHRISTOPHER D HARDY SR
                         CHRISTOPHER D JOHNSON
                           CHRISTOPHER D JONES
                            CHRISTOPHER D LOOS
                            CHRISTOPHER D LYNN
                           CHRISTOPHER D RUISE
                          CHRISTOPHER D SURBER
                        CHRISTOPHER F MESERY SR
                          CHRISTOPHER GARDNER
                           CHRISTOPHER J BECKER
                           CHRISTOPHER J ESSEM
                          CHRISTOPHER J MATLIN
                         CHRISTOPHER J PEARSON
                           CHRISTOPHER L BLAND
                             CHRISTOPHER L DIAZ
                          CHRISTOPHER L GIBSON
                         CHRISTOPHER L HUBBARD
                        CHRISTOPHER L STEVENSON
                         CHRISTOPHER M COMEAU
                         CHRISTOPHER M GUERRA
                           CHRISTOPHER M JONES
                           CHRISTOPHER M WALL
                            CHRISTOPHER MEEKS
                            CHRISTOPHER MEEKS
                       CHRISTOPHER N BILLINGTON
                          CHRISTOPHER N DECKER
                           CHRISTOPHER R BURNS
                           CHRISTOPHER R SCOTT
                         CHRISTOPHER R WALLACE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 23 of 112 PageID #: 330


                        CHRISTOPHER S CARSWELL
                         CHRISTOPHER S GARDNER
                         CHRISTOPHER T BRIMMER
                           CHRISTOPHER T KEAGY
                         CHRISTOPHER W HUDSON
                             CHRISTY D DUNCAN
                              CHRISTY J CARLO
                               CHRISTY L EMRY
                             CHRISTY L WILSON
                            CHRISTY M JOHNSON
                           CHRISTY N CARNAHAN
                           CHRISTY S SOVEREIGN
                       CHUNCHARDRA D MELLERSON
                                 CIERA D HILL
                                 CIERA D HILL
                                 CINDI K COX
                                 CINDI K COX
                                CINDI L WELLS
                              CINDY J J ADKINS
                            CINDY L DANNIBALE
                           CINDY L FITCHPATRICK
                          CINDY L LAUDERBAUGH
                              CINDY L MCNEELY
                                 CINDY L PEEK
                              CINDY L PHILLIPS
                               CINDY M SARVIS
                               CINDY M SARVIS
                              CINDY S SANCHEZ
                             CINETA L JOHNSON
                             CLARENCE ENGLISH
                             CLARENCE PASCUA
                             CLARINE D RUSSELL
                          CLAUDIA M CASTANEDA
                             CLAUTHIA R FIELDS
                           CLAYTON C WERNETTE
                          CLEMENTINA I IMOBHIO
                              CLIFF R FREEMAN
                           CLIFFORD E HALCOMB
                          CLIFFORD W BRUNNER II
                           CLINTON C BOLLINGER
                             CLINTON V GRAY II
                                CLYDE BUTTER
                               CODY LANGDON
                               COLBY K FARLEY
                                COLE C BOND
                            COLENE M VETRONE
                             COLETTE M POLITE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 24 of 112 PageID #: 331


                            COLLEEN M MILLER
                              COLLIN C PERRY
                           CONCETTA D DUGAS
                           CONNIE J ALEXANDER
                             CONNIE L BATTYE
                           CONNIE L CHAPMAN
                               CONNIE L PEEK
                            CONNIE L SCHMIDT
                           CONNIE S VITZTHUM
                          CONSTANCE L INGRUM
                        CONSTANCE M COMPTON
                           CORAL J WOODRUFF
                          CORDELLIO J BUMPASS
                            COREY D KNEELAND
                          CORNELIA A HOWARD
                            CORNELIA MASCOLL
                            CORNELIUS D JONES
                           CORNELIUS HOWARD
                         CORRETTA C WOODARD
                            CORRIE M KRAMER
                               CORY A CUYLER
                          CORY A REICHENBACH
                         COURTNEY B LEFTWICH
                           COURTNEY J MARTIN
                         COURTNEY N CZARNECKI
                               CRAIG A MIMS
                              CRAIG ADELMAN
                                CRAIG CLAMP
                              CRAIG D BODDY
                              CRAIG L DEWAR
                            CRAIG O STEPHENS
                               CRAIG SWEDIN
                           CRAIG T MCCARTHY II
                          CRANZ E GREENWOOD
                             CRUZ D CAMACHO
                           CRYSTAL A PFISTERER
                           CRYSTAL B COLEMAN
                             CRYSTAL D PENNY
                             CRYSTAL J MARTIN
                              CRYSTAL L JONES
                            CRYSTAL L LINKOUS
                            CRYSTAL L LINKOUS
                            CRYSTAL L TANNER
                            CRYSTAL L TANNER
                            CRYSTAL M ADAMS
                            CRYSTAL R STRAUSS
                              CRYSTAL S LEYVA
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 25 of 112 PageID #: 332


                              CRYSTAL T BELLE
                               CRYSTAL VELEZ
                                CUMI JOLLY
                               CURTIS JONES
                               CURTIS JONES
                             CURTIS M BRIANT
                           CURTIS V VITZTHUM
                             CURTIS W NORTH
                             CYNTHIA A FRANK
                          CYNTHIA A THOMSON
                               CYNTHIA CARR
                               CYNTHIA CARR
                          CYNTHIA D MCKINNEY
                           CYNTHIA E JOHNSON
                            CYNTHIA K RUSSELL
                            CYNTHIA L CLOVER
                          CYNTHIA L GRENSTED
                         CYNTHIA L WASSERLEIN
                            CYNTHIA M MEEKS
                              CYNTHIA MEEKS
                             CYNTHIA R JONES
                           CYNTHIA V BUTTICE
                             DACER W KEELEY
                        DAKOTA L COTTON SMITH
                              DALE A LEFFLER
                             DALE BLACKBURN
                              DALE E GORDON
                            DALLAS R CARROLL
                            DALLAS R CARROLL
                            DAMIKA L ELLIOTT
                           DAMISHA Y WALKER
                           DAMISHA Y WALKER
                             DAMON L SMITH
                              DANA C STOKES
                               DANA J JONES
                              DANA L SPOTTO
                              DANA L TAYLOR
                                DANA LYNN
                               DANA M BOST
                               DANE S SMITH
                             DANETTE S ROWE
                              DANI A TANNER
                           DANIEL C LEBLEU JR
                              DANIEL C POLKA
                             DANIEL D SMISEK
                           DANIEL E DOREMUS
                            DANIEL E HOOTON
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 26 of 112 PageID #: 333


                               DANIEL FOLEY
                             DANIEL G KEELER
                            DANIEL J BARCHIE
                             DANIEL J BURKE
                           DANIEL J MCKEVITT
                              DANIEL J SMITH
                             DANIEL L ARNETT
                           DANIEL L ETHERIDGE
                            DANIEL L HARLOW
                              DANIEL P HAHN
                             DANIEL R MILLER
                             DANIEL S ROUSH
                            DANIEL T LENNEN
                          DANIEL W CHAMBERS
                          DANIELA L ORMONDE
                          DANIELLE C MCKENZIE
                          DANIELLE C MCKENZIE
                        DANIELLE K TERPENNING
                            DANIELLE LAWSON
                         DANIELLE M ANDERSON
                         DANIELLE M JACOBSON
                         DANIELLE M JACOBSON
                          DANIELLE N JOHNSON
                          DANIELLE N JOHNSON
                         DANIELLE N MESSINGER
                            DANITA M PURTER
                        DANITRA LAMPKIN-SMITH
                           DANNY HOLYCROSS
                              DANNY J LAHR
                          DANNY M NORWOOD
                             DANNY MEEKINS
                           DANNY PATTERSON
                            DANNY R GRAVATT
                            DANNY W OAKLEY
                           DANTE M AVERIETT
                              DANTE T JONES
                           DANYIEL V JOHNSON
                           DAPHNE L FINEGAN
                           DAPHNE L FINEGAN
                           DARCELL SOCKWELL
                             DARIO DULOVIC
                             DARIO DULOVIC
                            DARITA N PARRISH
                            DARLA M NICHOLS
                           DARLA R GATOLOAI
                           DARLENE D GARCIA
                           DARLENE MCGREW
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 27 of 112 PageID #: 334


                          DARLENE R LOWMAN
                            DARNELLE V JONES
                            DARRELL DODSON
                             DARRELL R DAVIS
                          DARRELL RICHARDSON
                           DARRELL T SANDERS
                         DARRELLAND C MARTELL
                             DARREN C BORG
                              DARREN H COX
                           DARREN K RAYBURN
                              DARREN L HAAS
                            DARREN L SNYDER
                           DARRYL C BURTMAN
                               DARYL E IVES
                            DAVEY F JACKSON
                             DAVID A BURTON
                            DAVID A GERLACH
                             DAVID A LANDIX
                              DAVID A MOSS
                            DAVID B BRICKELL
                            DAVID B NORMAN
                               DAVID BANKS
                            DAVID C CAEKAERT
                             DAVID C MARKS
                             DAVID D KOTSCH
                             DAVID E HARTLE
                              DAVID E STEPP
                             DAVID E WALLIS
                            DAVID F GRIFFITH
                           DAVID F HAMMOND
                            DAVID FANTAUZZI
                           DAVID G CONTRERAS
                         DAVID G SOUTHWORTH
                             DAVID HOOPERT
                            DAVID J HENSLEY II
                              DAVID J NACCO
                             DAVID L BROWN
                           DAVID L CICHOWLAS
                              DAVID L KRAFT
                           DAVID L NICHOLSON
                               DAVID L REED
                             DAVID L SHIPLEY
                              DAVID M ELDER
                           DAVID M NEMECHEK
                              DAVID M STEEL
                              DAVID M WATT
                            DAVID MANSOUR
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 28 of 112 PageID #: 335


                                DAVID O UTT
                              DAVID P ORTLIEB
                             DAVID PETTENGILL
                               DAVID R BELUE
                              DAVID R HEALEY
                            DAVID R JULLETTE II
                            DAVID R ROBINSON
                              DAVID S KOLLER
                            DAVID V GONZALES
                                DAVID W GILL
                              DAVID W ROUSE
                            DAVID WHITEHEAD
                               DAVID Y LISCO
                              DAWN C PERKINS
                             DAWN L CALHOUN
                               DAWN L SEELEY
                            DAWN L TERRY-DEW
                              DAWN M BRUNN
                            DAWN M CATALDO
                              DAWN M DUCCA
                             DAWN M DUDNEY
                             DAWN R BLANCHE
                            DAWOOD M SIDDIQ
                            DAYTON L LASATER
                                DEAN JONES
                               DEANA R HICKS
                           DEANGELINE THOMAS
                             DEANNA E HAFNER
                             DEANNA F FARLEY
                              DEANNA L HENRY
                            DEANNA L SOMMER
                          DEANNA L THOMASON
                             DEANNA M PAYNE
                            DEANNA R RENFRO
                              DEANNE CANNICI
                             DEBBIE GOLDSTEIN
                             DEBBIE S FRANCIS
                           DEBBIRA A RYDZINSKI
                             DEBORAH A DIXON
                            DEBORAH A EWING
                          DEBORAH A GALLOWAY
                           DEBORAH A GILLESPIE
                       DEBORAH A PAINTER-PLIMLEY
                          DEBORAH A PETERSON
                         DEBORAH D RICHARDSON
                            DEBORAH J RAYNER
                              DEBORAH K FRYE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 29 of 112 PageID #: 336


                            DEBORAH L KERN
                          DEBORAH L MICKENS
                         DEBORAH L NEEDHAM
                         DEBORAH L REYNOLDS
                           DEBORAH M KLEPS
                          DEBORAH MARSHALL
                           DEBORAH PASCUA
                         DEBORAH R NURIDDIN
                           DEBORAH R PEREZ
                           DEBORAH R PEREZ
                           DEBORAH S EIMAN
                           DEBORAH S EIMAN
                          DEBORAH SHUMATE
                           DEBORAH Y FOSTER
                             DEBRA A BATES
                          DEBRA A DERINGTON
                             DEBRA BROWN
                            DEBRA D ALLISON
                          DEBRA D MANSFIELD
                          DEBRA J SHOEMAKER
                          DEBRA J TOLLEFSON
                            DEBRA J WRIGHT
                           DEBRA K COLEMAN
                         DEBRA K CUNNINGHAM
                          DEBRA K ELLSWORTH
                            DEBRA K RIZZUTO
                            DEBRA L DODSON
                              DEBRA L HYDE
                            DEBRA L MASON
                           DEBRA P SCRUGGS
                              DEBRA R FINK
                              DEBRA R FINK
                            DEBRA S SNYDER
                             DEDRA A SIMSO
                          DEIDRA M GAMMILL
                            DEIRDRE A DERBY
                           DEIRDRE A KENNEY
                           DELBERT R MORRIS
                           DELBERT R MORRIS
                          DELETA S DAVIS GEE
                          DELETA S DAVIS GEE
                          DELETHIA A BARKLEY
                          DELINDA A CORNIST
                             DELORES ELAM
                           DELORES MURRELL
                            DELYNN M SMITH
                          DEMETRI D DOUGLAS
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 30 of 112 PageID #: 337


                         DEMETRIS C LIVINGSTON
                            DENESE R FRANKLIN
                              DENISE B SEDA
                              DENISE B SEDA
                          DENISE BRECKENRIDGE
                            DENISE H HUMMEL
                            DENISE J KIRKMAN
                              DENISE K BOND
                            DENISE L SVEZZESE
                            DENISE L WILLIAMS
                          DENISE M SZCZEPANSKI
                            DENISE M THOMAS
                           DENISE RICHARDSON
                             DENISE S HARRIS
                              DENISE T PEELE
                             DENISE URTARTE
                              DENISE WILSON
                              DENITA M BOSS
                            DENNIS A PRESTON
                           DENNIS D KEPLINGER
                             DENNIS E DURAN
                               DENNIS KLOTH
                            DENNIS L ROGERS II
                              DENNIS L RYAN
                             DENNIS L TRACEY
                            DENNIS N KIMBALL
                                DENNY PENA
                                DENNY PENA
                               DENO D ROLIN
                            DEREK L CHESTNUT
                             DEREK L SUTTON
                             DEREK R GRANAT
                            DEREK R MAGGARD
                               DEREK S GOAD
                             DEREK W WRIGHT
                            DERENE SHEPPARD
                             DERRICK L STREET
                          DERRICK P INGRAM JR
                            DERRICK R ERVIN SR
                           DERRICK W MCKINZIE
                           DESHONDA V BROWN
                              DESIREE D LUNA
                            DESIREE G STANLEY
                            DESIREE GALBREITH
                          DESIREE L VILLASENOR
                        DESMOND L MONTGOMERY
                           DEVEREST M KOVATS
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 31 of 112 PageID #: 338


                             DEVIN L WALTERS
                           DEVON R EDWARDS
                          DEWAYNE C BOWMAN
                           DIAMOND L OAKLEY
                              DIANA CHEHAB
                                DIANA FOX
                              DIANA FULTON
                              DIANA GARCIA
                            DIANA L JOHNSON
                               DIANA R BECK
                               DIANA R BECK
                            DIANE BOSWORTH
                            DIANE BOSWORTH
                              DIANE D HILLIS
                            DIANE K KAWAIAEA
                           DIANE L DELMASTRO
                             DIANE L WERNER
                              DIANE L WOOD
                            DIANE M MURRAY
                               DIANE M RYS
                            DIANE M SCHULTZ
                             DIANE N TOMASA
                           DIANE S FULLWOOD
                               DIANE SABEL
                                DIANE SPIAK
                                DIANE SPIAK
                              DIANE WILDER
                             DIANN R JIMENEZ
                          DIANNA M PARTIPILO
                          DIANNE B PABELONIO
                            DINAH E LEADFORD
                              DINAH W HICKS
                           DIONNE L ROTHWELL
                             DIONNE R JONES
                             DIONY ANTIGUA
                               DJIBRIL DIOUF
                        DOLORES L MERRIWEATHER
                        DOLORES L MERRIWEATHER
                            DOMINIKA BOULAS
                          DOMINIQUE A CARTER
                          DOMINIQUE G WOOD
                            DOMONIQUE ELLIS
                             DON E SCHUELKE
                           DON J SCHWIRTLICH
                              DON L FINK SR
                              DON S HEIMAN
                             DONALD A JONES
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 32 of 112 PageID #: 339


                           DONALD C MADDOX
                         DONALD CHARBONEAU
                             DONALD D GRAY
                           DONALD D HERBERT
                            DONALD E FRAZEE
                         DONALD E HILLIARD JR
                            DONALD E TURNER
                             DONALD E TYREE
                          DONALD E WILLIAMS
                           DONALD H MCCLAIN
                         DONALD L LONGHURST
                         DONALD L THOMPSON
                          DONALD M GRENSTED
                            DONALD R JACOBS
                            DONALD R JACOBS
                          DONAVAN S ROWLEY
                          DONELLE BOETTCHER
                           DONNA B GOODWIN
                             DONNA C DAVIS
                             DONNA C JONES
                             DONNA C WHITE
                              DONNA J COTO
                             DONNA J DAVIS
                         DONNA K GARNER-HALL
                            DONNA L GILLIGAN
                             DONNA L GREEN
                              DONNA L LISPI
                            DONNA L MEYERS
                       DONNA L MITCHELL-RAMIREZ
                          DONNA M HAKEMIAN
                            DONNA R MASSEY
                            DOORY A FOGARTY
                             DORIAM QUILES
                            DORIS J JOHNSON
                              DORIS J WOOD
                             DORIS SHELTON
                            DOROTHY A MANN
                          DOROTHY M THOMAS
                            DORTHEA D WAHL
                         DOSHIA D RICHARDSON
                           DOTTIE ALEXANDER
                          DOUGLAS D LINDBERG
                           DOUGLAS E CALLOW
                           DOUGLAS E FARRIER
                           DOUGLAS E LADOUX
                           DOUGLAS E MCNEAL
                           DOUGLAS J MANSKY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 33 of 112 PageID #: 340


                          DOUGLAS M BRONSON
                          DR FREDRIC M FRANCIS
                               DUANE L BOEN
                          DUDLEY O CROSSLAND
                               DUFFY,LINDA A
                         DURIONTE L MATTHEWS
                             DUSTIN A DAMITZ
                              DUSTIN L MOORE
                              DUSTIN L MOORE
                             DUSTIN N DREWER
                           DUSTIN R COURTNEY
                            DWAYNE N BROOKS
                          DWENDOLYN J DILLARD
                           E ANDREW BRUNSON
                              EARL F NUESSE III
                                EBONIE D IRBY
                           EBONY A DONELSON
                             EBONY CROFFORD
                             EBONY CROFFORD
                            EBONY M SHARPLEY
                            EBONY S WILLIAMS
                            EBONY S WILLIAMS
                              EBONY Y WALKER
                              EBONY Y WALKER
                           EDDY M LANDSTROM
                             EDGAR N BOURNE
                             EDMUND A MAJKA
                         EDUARDO M FERNANDEZ
                         EDWARD A SZCZEPANSKI
                           EDWARD E WOOSLEY
                          EDWARD J ANDERSON
                              EDWARD J KOPP
                            EDWARD L BLOUNT
                            EDWARD R BURTON
                          EDWARD R DOOLITTLE
                           EDWARD R PETERSEN
                         EDWARD STEPHENSON II
                            EDWARD W FISHER
                              EERICA MURPHY
                               EFUA S AKOMA
                              EHRIN J ROONEY
                            ELAINA D JENNINGS
                             ELAINA M WATLEY
                             ELAINE F ATENCIO
                               ELAINE P BAILEY
                              ELDA GUERRERO
                           ELENA M MIGLORINO
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 34 of 112 PageID #: 341


                               ELI D STROMMER
                                  ELIE M NAJM
                                ELINA M PELAEZ
                                ELISA Y LASSITER
                           ELISABETH HERNANDEZ
                              ELISHA MCGOWAN
                           ELIZA L JONES-HEDRICK
                             ELIZABETH A ALLOTT
                          ELIZABETH A ANDERSON
                           ELIZABETH A CALLAHAN
                           ELIZABETH A CALLAHAN
                              ELIZABETH A COOK
                            ELIZABETH A GORDON
                      ELIZABETH A GRANILLO KENNEDY
                           ELIZABETH A RAYBURN
                               ELIZABETH A REES
                             ELIZABETH A YOUNG
                           ELIZABETH BRITTON MS
                              ELIZABETH C HOPE
                              ELIZABETH C SMITH
                              ELIZABETH C WHITE
                               ELIZABETH DUPIN
                           ELIZABETH J CHASTAIN
                            ELIZABETH K WILSON
                             ELIZABETH L ERIKSEN
                           ELIZABETH L SHUMATE
                             ELIZABETH M LEWIS
                              ELIZABETH MENGE
                             ELIZABETH P JENSEN
                              ELIZABETH R BENCY
                           ELIZABETH RODRIGUEZ
                                ELIZABETH T HO
                               ELIZABETH VERAS
                                 ELKA C HARLEE
                                  ELL S SMITH
                            ELLANDRIA L HAYNES
                                ELLEN G PARKER
                                 ELLIOT J REED
                             ELLIS W STRICKLAND
                               ELOISA H OLGADO
                               ELVIN D HOLLIDAY
                              ELYSSA L ZATYRACZ
                               EMALINE YBARRA
                              EMELIA ASAMOAH
                             EMILY A DELBROCCO
                            EMILY A EVANGELISTA
                            EMILY A ZAKRZEWSKI
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 35 of 112 PageID #: 342


                           EMILY A ZAKRZEWSKI
                               EMILY D COKER
                               EMILY D COKER
                               EMILY L CAPPS
                         EMMANUEL IZQUIERDO
                         EMMANUEL IZQUIERDO
                          EMMANUEL T MONERI
                       EMMIE J COCHRAN-JACKSON
                             ERCELA H RENFRO
                               ERIC ASAMOAH
                          ERIC B ANTWI-BOATEY
                                 ERIC B OAKS
                              ERIC CHARMLEY
                                ERIC E HASLEY
                             ERIC J HAMILTON
                                ERIC J LUCERO
                             ERIC J TOLLEFSON
                               ERIC J WATSON
                                ERIC K OPOKU
                             ERIC L DE MARCO
                             ERIC M ATKINS JR
                             ERIC M BENJAMIN
                             ERIC R ANDERSON
                              ERIC S HARKNESS
                              ERIC S SWANSON
                              ERIC S SWANSON
                       ERICA D HALLER-STEVENSON
                               ERICA K GATES
                            ERICA L PARASIMO
                             ERICA M HEXIMER
                              ERICA M MISNER
                              ERICA M TURNER
                                ERICA N AMES
                            ERICA ROBERTIELLO
                             ERICK T BISQUERA
                             ERICKA Z WATSON
                                ERIK A WEBER
                              ERIK C CARLSON
                             ERIK D HARWOOD
                               ERIK J FOSTINO
                               ERIKA E LAVOIE
                                ERIKA K COLE
                              ERIN B WELDON
                                 ERIN COATS
                              ERIN E MARCUM
                              ERIN J PENLAND
                               ERIN M COURY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 36 of 112 PageID #: 343


                                ERIN P SMITH
                                ERIN T FINLEY
                           ERNEST P WHITLOW
                         ERNESTINE M WILLIAMS
                             ERNESTINE WELLS
                           ERNESTO A RAMIREZ
                              ESSIE M BROWN
                         ESTHER CHIGOVANYIKA
                            ESTHER G HARDER
                           ESTHER M CAMPBELL
                           ESTHER M CASTANO
                             EUCLES J MOORE
                             EUGENE L WALKO
                         EUGENIA D JONES-BILLIE
                            EUGENIA L BENSON
                              EUGENIA Y SAKYI
                              EUNICE JACKSON
                              EUNICE JACKSON
                                 EVA C LEWIS
                                  EVA JIRJIS
                               EVA M HELSCEL
                                EVA WATKINS
                             EVALYN R ROQUE
                             EVAN D WILLIAMS
                            EVELYN C CURBELO
                             EVELYN D FRAZIER
                              EVELYN PORTER
                            EVELYN V ROMERO
                             EVON M LINTERN
                             EVON M LINTERN
                              EVONE T JACOBS
                              EVONE T JACOBS
                            FABIO D ESKANDAR
                            FABIOLA M BERON
                              FABIOLA S ALLEN
                              FAIRY L JORDAN
                             FAITH J SHARPLEY
                             FALLON C MOORE
                              FALON BRADLEY
                              FANNY H NATER
                               FANNYE P HILL
                             FARRAH T FORBES
                               FARRELL JOLLY
                              FATIMA Z FAZAL
                       FATIMEH POURSAYEDAHMED
                               FAYE A COFFIN
                             FAYE M ROBISON
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 37 of 112 PageID #: 344


                         FEDERICO B MANGABAT
                               FEDERICO G RUIZ
                             FELECIA A JOHNSON
                             FELECIA M THOMAS
                            FELICIA BUCKHALTER
                              FELICIA D HINTON
                            FELICIA E CULPEPPER
                        FELICIA L HAMBYDAVIDSON
                            FELICIA M MITCHELL
                             FELICIA P STEWART
                                FELICITY A LOLLI
                         FERNANDO D SOTELO JR
                                 FIANA SMITH
                                 FLOR RIVERA
                              FLORA ROBINSON
                            FLORENCE M ZEPEDA
                             FORREST M EDGAR
                           FOTIS F MARMARINOS
                           FRANCISCA S SHIELDS
                          FRANCISCO J GONZALEZ
                            FRANCISCO J RICO JR
                            FRANCISCO J RICO JR
                             FRANCISCO PRADO
                               FRANCISCO RUIZ
                           FRANCOIS A WALTON
                             FRANK A COMITO III
                              FRANK B JONES JR
                             FRANK J MARTINEZ
                             FRANK P COURTNEY
                             FRANK R ANTICOLA
                               FRANK SMITH JR
                              FRANK V CATALDO
                           FRANK W BACSKAY JR
                          FRANKLIN D CORNETTE
                             FRANKLIN WATKINS
                               FRED D SULLIVAN
                              FREED G AGUILAR
                            FREEZE A MCCARTER
                                GABRIEL RIVERA
                              GABRIELLE A MAYS
                                 GAIL A KNOX
                                 GAIL A VOGEL
                              GAIL D HUEY-YOU
                               GAIL R WILLIAMS
                              GALE S DESAUTELL
                              GARRETT L BISHOP
                           GARRY L AMBURGY SR
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 38 of 112 PageID #: 345


                             GARRY R FREED
                          GARTHE T ROBINSON
                            GARY A SIMPSON
                             GARY A WHITE
                            GARY B BANKER
                          GARY C MCDOUGALE
                           GARY D DESAUTELL
                              GARY D HONE
                             GARY F KRAUSE
                          GARY J UNDERWOOD
                           GARY L CHAMBLISS
                            GARY L HELSCEL
                           GARY L HUEY-YOU
                           GARY L HUEY-YOU
                             GARY L ODOM
                             GARY L WISOR
                            GARY M KRAIL SR
                              GARY M SAGE
                             GARY N RANCH
                             GARY R MOORE
                              GARY S LESLIE
                              GAY A DAVIS
                               GAYL HYDE
                             GENA G FARLEY
                            GENA R TUGGLE
                             GENE A POPETZ
                            GENICE J MATOS
                            GENICE J MATOS
                          GENIENE CATALANO
                            GENISE E BARTEE
                        GENNETTE WASHINGTON
                         GEOFFREY C SWISHER
                          GEOFFREY P BILTGEN
                          GEOFFREY S COTTON
                          GEORGE D DATCHER
                          GEORGE HERNANDEZ
                           GEORGE K HARRELL
                           GEORGE L LAPSLEY
                         GEORGE M VAUGHN JR
                          GEORGE N SVEZZESE
                          GEORGE T MCKINNEY
                        GEORGE XANTHOPOULOS
                           GEORGEANA J RUIZ
                         GEORGIA L SWAFFORD
                            GEORGIA M KING
                          GEORGIA V JOHNSON
                          GEORGIA Y MC CRAY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 39 of 112 PageID #: 346


                         GEORGIANNA S HANES
                          GEORGINA PIZARRO
                              GERALD BLACK
                         GERALD C HUMMEL JR
                           GERALD C SMITH JR
                           GERALD L HAWKINS
                           GERALD L HAWKINS
                          GERALD L WOESSNER
                         GERALD M WOOLWINE
                             GERALD R GRAY
                            GERALD R SPENCE
                        GERALDINE A CUMMINGS
                           GERAMIE R BUTLER
                          GERARD C RINEHART
                           GERARD WILLIAMS
                            GERI M LLAGUNO
                             GERIE T GOMEZ
                          GERMAINE V MICHEL
                          GERTRUDE A CREEKS
                        GHOLAMREZA ATAZADEH
                           GIANNINA MORAN
                             GINA K MORRIS
                               GINA L GANN
                             GINA L MOBLEY
                              GINA L SMITH
                              GINA M COOK
                              GINA M COOK
                             GINA M YOUNG
                            GINGER D CARTER
                            GINGER G VIRDEN
                          GINGER H GREGORY
                         GINGER L SPIELMANN
                          GINGER THOMPSON
                            GINNA L RAYMER
                         GIOVANNI M MORELL
                           GLADYS E APONTE
                             GLEN A GEORGE
                              GLEN A TRIPP
                              GLEN L BIGGS
                              GLENDA E DAY
                             GLENDA F LEWIS
                             GLENN C ALLEN
                              GLENN H HILL
                           GLENN W TURNER
                           GLORIA HARRISON
                           GLORIA I VALDIVIEZ
                           GLORIA J BIRDSALL
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 40 of 112 PageID #: 347


                            GLORIA J SPENCER
                        GLORIA M IAGROSSI BRENES
                           GLORIA M LAGROSSI
                           GOEINDALINA SMITH
                             GOLDEN B WELCH
                          GOODMAN,HAROLD E
                         GORDON M HERRINGTON
                             GRACE R MARCH
                              GRACIELA EASH
                              GRAHAM T KYLE
                              GRAIG E TOLER
                           GRANDSTON L JAMES
                             GRANT N SEIBERT
                             GRECIA FAUREST
                             GREG F WALLACE
                              GREG SHAPIRO
                             GREG T SARGENT
                             GREGG E RUSSELL
                         GREGORY C MCCUTCHEN
                         GREGORY D ABERNATHY
                             GREGORY D HITE
                             GREGORY D HITE
                            GREGORY J SAVAGE
                           GREGORY N TROXLER
                          GREGORY R KILPATRICK
                           GREGORY R RUMAGE
                            GREGORY S MILLER
                           GREGORY W TESNAR
                             GRIFFITH O LUKE
                           GUADALUPE M FELIX
                            GURDON T MILLS III
                             GURSHRAN KAUR
                             GUY L HENDRICKS
                              GUY L WILLIAMS
                              GUY W STRAKER
                        GWENSHANA S HUMPHRIES
                            H LINDSAY WRIGHT
                                HA T PHAN
                              HAILEY E HEARD
                           HAMZEH M IZHEMAN
                           HANIYYAH S HESTER
                          HARDELLA L MORGAN
                            HAROLD C NORALS
                              HAROLD STACY
                             HARROLD D KERN
                          HARRY E HARRISON JR
                             HARRY J MALLOW
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 41 of 112 PageID #: 348


                           HARRY S GOODWIN
                            HARRY T VUDURES
                           HARVEY D MOORER
                               HARVEY RHINE
                               HASAN QADER
                           HASHIM M MAWRY
                             HAYWARD L RUFF
                             HEATH W GRIDER
                        HEATHER A HEIMBICHNER
                             HEATHER A PEREZ
                             HEATHER A PEREZ
                           HEATHER A POWELL
                        HEATHER D MANGANELLO
                         HEATHER E DELASHMIT
                       HEATHER F FRANKLIN SMITH
                            HEATHER F WALSH
                             HEATHER J RHINE
                        HEATHER L CHARBONEAU
                         HEATHER L HUMPHREY
                         HEATHER L MARKOWSKI
                           HEATHER L MARTIN
                          HEATHER L MCCARTHY
                            HEATHER L MYLEK
                           HEATHER M CINDRIC
                         HEATHER M EARWOOD
                            HEATHER M HAND
                           HEATHER M HICKEY
                             HEATHER M PAPP
                            HEATHER M PETTY
                            HEATHER M PETTY
                          HEATHER M SAKOSKY
                            HEATHER N GUIDO
                          HEATHER N MCKINLEY
                             HEATHER N ROCK
                           HEATHER O STOOPS
                            HEATHER R OVERLY
                           HEATHER R SKELDON
                            HEATHER R SMITH
                             HEATHER Y KIRBY
                              HEDY R LARSON
                              HEIDI A ROONEY
                          HEIDI J SEESSENGOOD
                          HEIDI K JONES-SMITH
                               HEIDI L BARTZ
                             HEIDI M SIDWELL
                               HEIDI SARTAIN
                              HELEN HUSTON
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 42 of 112 PageID #: 349


                               HELEN JACOBY
                           HELEN M FRANKLIN
                             HELEN WILLIAMS
                             HENRIK L WILCOX
                          HENRY M DEWHURST
                               HENRY MORAN
                            HERBERT D EASH III
                              HERBERT J RILEY
                            HERBERT P RUCKER
                              HEY SOOK PARK
                              HILDA P MACIAS
                                HILDA PEREZ
                            HOLLEY E TOLLIVER
                            HOLLEY E TOLLIVER
                           HOLLIE M STEPHENS
                          HOLLY A FUERSTENAU
                               HOLLY A HART
                          HOLLY A SONEDECKER
                          HOLLY A SONEDECKER
                            HOLLY B REDFERN
                            HOLLY CHAMBERS
                            HOLLY L LEFTRIDGE
                           HOLLY L MATTINGLY
                               HOLLY L SMITH
                            HOLLY M JOHNSON
                              HOMA AHMADI
                              HOMA AHMADI
                                HONG K PARK
                               HOPE A HARRIS
                            HORCHER JR,JOHN
                           HOWARD B HERBERT
                             HOWARD R HICKS
                          HUMMEL,MARGARET I
                            HUMPHREY WEDEY
                           HUSSEIN A CHAHINE
                            HUSSEIN A CHEHAB
                            HUSSEIN H CHEHAB
                             HUYEN T NGUYEN
                            HYACINTH E BELLE
                           HYACINTH THOMAS
                               HYANG CHA YI
                                  HYUN J LEE
                               IAN D HANSEN
                                 IAN WOODS
                                 IAN WOODS
                             IASHA M HARRIS
                              ICYRENE M BELL
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 43 of 112 PageID #: 350


                                 ICYRENE M BELL
                                     IDA M HALL
                                     IDA M HALL
                             IESHA N ANDERSON
                                      IKE ROSS II
                                   ILEANA PEREZ
                           IMELDA P GUERRERO
                               INA J CREEKBAUM
                                    INDIA H ROSS
                                  INDIA N PERRY
                                  INDIA N PERRY
                            INGRID E LOFFREDO
                              INGRID M DEGAND
                              INGRID M DEGAND
                                   INGRID WEISS
                                  IONA POTZNER
                                    IRENE DERBY
                                IRVING E AMPEY
                                   ISAIAH RIVERA
                                       ISEL BAEZ
                             ISRAYEL AVETISYAN
                                    IVAH C KLINE
                                IVAN G ALDRETE
                                  IZELLA YARBER
                                  JABARI HARRIS
                            JABRAYLA MAYFIELD
                              JACINTA WILLIAMS
                                   JACK D BAILEY
                               JACK E WOODY JR
                                JACKEE D MARSH
                           JACKIE C STINEBAUGH
                             JACKIE E WOODY JR
                               JACKIE L DAVERSA
                               JACKIE L MUNSON
                             JACKIE L SUMMERS
                            JACKIE L WOESSNER
                               JACKLYN D SMITH
                                  JACLYN M LASS
                           JACOB ASHENBERNER
                           JACOB ASHENBERNER
                                  JACOB B AMES
                              JACOB MCMULLEN
                               JACOB N CRUMLY
                                  JACOB S LEWIS
                               JACOB WITTKAMP
                        JACQLYNN M HENDRICKSON
                               JACQUE R GOODE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 44 of 112 PageID #: 351


                        JACQUELINE D ANDERSON
                        JACQUELINE D BOGDANSKI
                            JACQUELINE D MILLER
                          JACQUELINE D SHEPARD
                             JACQUELINE DE LEON
                            JACQUELINE E PEIFFER
                              JACQUELINE F TRICK
                             JACQUELINE G BRESS
                          JACQUELINE HALBREICH
                            JACQUELINE M FRADY
                           JACQUELINE M GARREY
                                 JACQUELINE PENA
                                 JACQUELINE PENA
                         JACQUELINE W WILLIAMS
                            JACQUELYN L POWELL
                              JACQUELYN M KELLY
                              JACQUELYN V CHASE
                              JACQUELYNE SMITH
                                JAHAF J ROBINSON
                                    JAIME L POLSKI
                              JAIRO A RODRIGUEZ
                                JAJISA Z WILLIAMS
                                     JAKE B EVANS
                               JALAYNA R HUSTON
                                     JAMA S BACK
                            JAMAAL R GRANTHAM
                                   JAMAL C JAMES
                                    JAMAL E JABRI
                                   JAMELA GRIFFIN
                                 JAMES A BALDINO
                             JAMES A MCDONALD
                               JAMES A WHARTON
                               JAMES B DICKNEITE
                                 JAMES B HENSON
                                  JAMES B TANNER
                                JAMES BATCHELOR
                                    JAMES BRIGGS
                                  JAMES C COTTON
                                     JAMES C HALL
                                  JAMES C HURLEY
                                  JAMES C HURLEY
                                 JAMES C ORMSBY
                                  JAMES C WALKER
                                JAMES D ALSOP SR
                                JAMES D BENNETT
                                  JAMES D D FORD
                                   JAMES D KIRCUS
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 45 of 112 PageID #: 352


                               JAMES D MAJOR
                               JAMES D MILLER
                           JAMES D TUBERVILLE
                              JAMES D TURNER
                                 JAMES D WEBB
                                JAMES DUNLAP
                               JAMES E TINDELL
                               JAMES F GAFNEY
                            JAMES F RANDOLPH
                           JAMES F RAWSON JR
                             JAMES G GRAHAM
                               JAMES GUZMAN
                               JAMES GUZMAN
                            JAMES H CAMPBELL
                            JAMES H GREENE JR
                         JAMES H MORRISON JR
                               JAMES J DOWDY
                              JAMES J FOLDING
                            JAMES J FRANCIS JR
                               JAMES J GIGANTI
                               JAMES J TUCKER
                                 JAMES K CONN
                             JAMES K GRAHAM
                               JAMES L GARCIA
                         JAMES L GREGERSON JR
                              JAMES M MASSEY
                              JAMES M NELSON
                            JAMES M STAVELEY
                              JAMES MCKINNEY
                             JAMES N BRADLEY
                             JAMES N PITTMAN
                              JAMES P CHAPUT
                              JAMES P RUFFINO
                               JAMES R CARTER
                          JAMES R CLINGERMAN
                              JAMES R GANN JR
                              JAMES R GOLDEN
                          JAMES R HEFFINGTON
                                  JAMES R LOTT
                               JAMES R MEIKLE
                                JAMES R USHER
                              JAMES SEELBACH
                                JAMES STINSON
                           JAMES T BIRCHFIELD
                          JAMES T HAWTHORNE
                                JAMES V DUCCA
                             JAMES W DUNCAN
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 46 of 112 PageID #: 353


                          JAMES W HUSTON SR
                         JAMES W PENNINGTON
                         JAMESHA A BAZEMORE
                               JAMIE D WALSH
                             JAMIE L COWLING
                           JAMIE L CROMWELL
                           JAMIE L CROMWELL
                              JAMIE L JACKSON
                             JAMIE L JOHNSON
                              JAMIE L MCCLAIN
                            JAMIE L PATERSON
                               JAMIE R TEAGUE
                              JAMIE S BILLINGS
                             JAMILLE L BECTON
                                  JAN E FOSTER
                               JAN M BENNETT
                                   JANA K REED
                                JANE J NGUYEN
                                   JANE KUNST
                                   JANE L SELLS
                                 JANE M HAHN
                                 JANE M HAHN
                               JANEE A FUOCO
                              JANELL M STACEY
                                JANELL MILLER
                           JANELLE G KNUTSON
                                 JANET BRYANT
                                JANET C MEYER
                               JANET E KUPFER
                            JANET J JEFFERSON
                           JANET L ROUNSVILLE
                             JANET M ALLISON
                               JANET M HARRIS
                              JANICE E SNYDER
                               JANICE HATTON
                             JANICE J CARRARA
                                 JANICE L HALL
                                JANICE M RYAN
                              JANICE M YOUNG
                               JANICE MOLLOY
                          JANICE PRENDERGAST
                          JANICE PRENDERGAST
                             JANIE R BALDERAZ
                                   JANIKA DIAL
                                 JANNA TRUITT
                            JARED W JOHNSON
                               JARON S BRIGGS
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 47 of 112 PageID #: 354


                                JARROD ARCHER
                             JARROD O STEFFEY
                            JARROD P LAJAUNIE
                                 JARROD R COLE
                           JASMIN D COPELAND
                          JASMINE BETANCOURT
                             JASMINE JACKSON
                        JASMINE K COBB-SCHMIDT
                        JASMINE K COBB-SCHMIDT
                         JASMINE M ALEXANDER
                               JASMINE N NUTZ
                               JASMYN J YOUNG
                                JASON A FREDIN
                              JASON A WATKINS
                             JASON A WILLCUTT
                                  JASON B WISE
                                JASON D FOOTE
                              JASON F ADDISON
                           JASON G SCHMIERER
                           JASON G SCHMIERER
                                   JASON J BELL
                                 JASON L FISHER
                           JASON L SHERWOOD
                              JASON M BRISTOL
                             JASON M WERNER
                                JASON MONROE
                               JASON R KINNICK
                                   JASON REYES
                              JASON S CHITTUM
                                JASON T HODGE
                                JASSON R BERRY
                                 JAVIER H SALAS
                              JAVIER MARTINEZ
                           JAVIER MARTINEZ JR
                                  JAYE L NEVINS
                                JAYME M JONES
                             JAZMINE M GOINS
                                  JEAN DAUREL
                                   JEAN F SADA
                                  JEAN H DOUE
                               JEANENE BEHNKE
                            JEANETTE D MCCUE
                           JEANETTE E WEAVER
                            JEANETTE M FRAME
                            JEANINE D CEGELSKI
                            JEANINE D CEGELSKI
                           JEANINE M MCALEER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 48 of 112 PageID #: 355


                             JEANINE RODRIGUEZ
                                  JEANNA COKER
                         JEANNA R SPEZZACATENA
                               JEANNE A SARNAT
                              JEANNE K SCHEFFEL
                                 JEANNE L KNAPP
                               JEANNE M DAVIES
                                 JEANNE ZAPPLEY
                             JEANNIE L WOOSLEY
                             JEANNINE C MORAN
                                    JEFF D BAKER
                               JEFF R HOUNSHELL
                           JEFFERY D SINGLETON
                              JEFFERY L BUNKLEY
                             JEFFREY A DEWOLFE
                                  JEFFREY A GOFF
                                 JEFFREY A LYNCH
                                JEFFREY A SENTER
                            JEFFREY ARMSTRONG
                                 JEFFREY D BAUM
                                 JEFFREY L SMITH
                                 JEFFREY L TRAPP
                             JEFFREY M ATENCIO
                                 JEFFREY S GABLE
                                 JEFFREY S LUCAS
                              JEFFREY W BRICKER
                              JEFFREY W BRICKER
                                  JEFFREY ZEBLEY
                               JELANA F HERRING
                                JENA M JAMISON
                                JENEAN DERHEIM
                                JENEAN DERHEIM
                            JENELLE K HAMILTON
                               JENIALA HAWKINS
                                   JENNA E BERG
                                  JENNA M BOYD
                                 JENNA M BRIGGS
                                 JENNA M BRIGGS
                                 JENNI N BAULCH
                                 JENNI N BAULCH
                           JENNIFER A BERGMAN
                           JENNIFER A BURNHAM
                            JENNIFER A CLOSSON
                               JENNIFER A HAYES
                            JENNIFER A HOWARD
                            JENNIFER A KNUTSON
                             JENNIFER A MCNEILL
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 49 of 112 PageID #: 356


                             JENNIFER A MUNGAI
                             JENNIFER B DREWER
                             JENNIFER B DREWER
                              JENNIFER B GRIMES
                            JENNIFER B LAMBETH
                          JENNIFER C BELLWOOD
                            JENNIFER C MASSARA
                           JENNIFER C WENTZLER
                                 JENNIFER COLTER
                           JENNIFER E ARMSTEAD
                           JENNIFER E CRANSTON
                             JENNIFER E FEATHER
                               JENNIFER HAUGEN
                                  JENNIFER J HILL
                                 JENNIFER J JONES
                              JENNIFER K BROWN
                              JENNIFER K WILSON
                               JENNIFER L ADDIEG
                         JENNIFER L ALENCASTRO
                             JENNIFER L ANGERER
                                JENNIFER L BATES
                            JENNIFER L COLEMAN
                             JENNIFER L CONWAY
                                 JENNIFER L COOK
                         JENNIFER L DAHLHAUSER
                           JENNIFER L DELPERCIO
                                JENNIFER L EVANS
                                JENNIFER L FISHER
                            JENNIFER L FLETCHER
                               JENNIFER L HARRIS
                        JENNIFER L HERSHBERGER
                             JENNIFER L JACKSON
                          JENNIFER L KAMINIECKI
                              JENNIFER L KERNON
                           JENNIFER L MELENDEZ
                            JENNIFER L MENDOZA
                             JENNIFER L MORGAN
                                 JENNIFER L PUGH
                          JENNIFER L RIGGLEMAN
                             JENNIFER L ROBERTS
                              JENNIFER L STARKEY
                          JENNIFER L THOMPSON
                            JENNIFER L WILLCUTT
                          JENNIFER M MARLOWE
                             JENNIFER M NGUYEN
                          JENNIFER M RAYMAKER
                                 JENNIFER M RICE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 50 of 112 PageID #: 357


                           JENNIFER M ROCKER
                          JENNIFER M THOMAS
                          JENNIFER N MCBRIDE
                           JENNIFER O BENTON
                        JENNIFER P RULEY-HARRIS
                            JENNIFER R BURTON
                              JENNIFER R CLARK
                          JENNIFER R EASTHAM
                             JENNIFER R SLOAN
                             JENNIFER S DEVLIN
                           JENNIFER S GERHOLD
                            JENNIFER T MARKIN
                            JENNIFER T POWERS
                               JENNIKA L SMITH
                             JENNY L HUTHMAN
                        JEOPARDY N RICHARDSON
                               JEREMIAH J MINK
                           JEREMIAH L TIBBITTS
                              JEREMY D BROWN
                            JEREMY D CARMON
                              JEREMY D MORSE
                             JEREMY D WILSON
                              JEREMY J DOWELL
                               JEREMY K FOOTE
                              JEREMY K GIBSON
                             JEREMY K STEVENS
                               JEREMY L ADAMS
                               JEREMY M DUNN
                                 JEREMY N SAAL
                             JERILYN N CURLESS
                         JERMAINE D MORRISON
                          JERMAINE L JOHNSON
                              JEROME A TAYLOR
                              JEROME K SPARKS
                               JEROME MOLINA
                                JERRA E HANSEN
                                  JERRICA WILKS
                             JERRY B CHANDLER
                                JERRY L WOODS
                            JERRY M MARSHALL
                                   JESCIA R SIGH
                             JESENIA O KOENES
                                 JESICA L JASPER
                                  JESSE T OLSON
                                JESSICA A BUCCI
                              JESSICA A CASBAR
                            JESSICA A CENSOTTI
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 51 of 112 PageID #: 358


                              JESSICA A LINDER
                               JESSICA A SCOTT
                                  JESSICA B ALB
                             JESSICA CHASTEEN
                               JESSICA D LLOYD
                               JESSICA D PRATT
                                JESSICA DOSTER
                               JESSICA E EVANS
                           JESSICA E SHOTWELL
                                JESSICA F DAVIS
                             JESSICA GOODWIN
                            JESSICA H BUEHNER
                                 JESSICA HAZEL
                              JESSICA J LAVOISE
                           JESSICA L DEVINCENT
                             JESSICA L HERMAN
                               JESSICA L MILLER
                               JESSICA L REVILL
                               JESSICA L REVILL
                             JESSICA L RICHTER
                            JESSICA M BENTZEN
                              JESSICA M WHITE
                           JESSICA N MANNING
                              JESSICA N MOON
                         JESSICA N PROUDFOOT
                               JESSICA N SEITER
                            JESSICA R CRAWLEY
                                 JESSICA R FELL
                                 JESSICA R HITT
                            JESSICA V WALTERS
                              JESSIE CHRISTIAN
                              JESSIE L MANSUR
                                  JESSIE L STEIN
                              JESUS E VILLEGAS
                                 JESUS JIMENEZ
                                JESUS VILLEGAS
                               JEWEL E SANTOS
                          JEWEL K RICHARDSON
                                JILL A CERRATO
                                JILL E PROCTOR
                                JILL E WALULAK
                                    JILL L KING
                              JILL M DUDGEON
                                   JILL N GROH
                                     JILL PHIRI
                            JILLIAN A TANASON
                         JILLIAN M KARALUNAS
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 52 of 112 PageID #: 359


                               JILLIAN M SILVIA
                               JILLIAN M SILVIA
                              JILLIAN M SMITH
                            JIMMIE C JACKSON
                              JINGLE M RAMOS
                               JO ELLA CORDER
                              JOAN BEASINGER
                              JOANN C HORSEY
                            JOANN E KENNEDY
                             JOANN EDWARDS
                             JOANN SVENDSEN
                              JOANNE BENTLEY
                           JOANNE F WILLIAMS
                          JOANNE T CHAPMAN
                             JOCELINE ARNOLD
                            JOCELYN D MASON
                            JOCELYN D MASON
                              JOCELYN L HIMES
                                  JODI A ODUM
                               JODI L DOUGLAS
                                 JODI L ENLOW
                                JODI L REAGAN
                                 JODIE D WATT
                                 JODIE K OLSEN
                               JODY C NICHOLS
                               JODY E AGUILAR
                       JOE ANN W MERRIWEATHER
                                   JOEL F COBB
                              JOEL R HUBBARD
                                  JOEL RAMSEY
                               JOEL V HERRERA
                            JOEL W WOODARD
                                  JOEY LOUCKS
                       JOHANNESBURG K WILLIAMS
                            JOHN B KOKOSZKA
                                 JOHN C DALLY
                              JOHN D FERKO III
                               JOHN D PICKETT
                             JOHN D STANSELL
                                JOHN E BOEHM
                              JOHN E VIERLING
                              JOHN E WARD JR
                         JOHN F BRECKENRIDGE
                           JOHN F WATKINS JR
                               JOHN H CARSON
                               JOHN J CREAGER
                              JOHN L YONUT JR
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 53 of 112 PageID #: 360


                           JOHN M BOGDAUSKI
                              JOHN M GILLMEN
                                 JOHN M KEYES
                                   JOHN P FOX
                                  JOHN P PINTO
                               JOHN R LINTERN
                          JOHN R WILDERMUTH
                                JOHN R WILSON
                            JOHN T BENKOVICH
                             JOHN T SOVEREIGN
                                JOHN T WALKER
                               JOHN W DIGNEIT
                               JOHN W SCHULZ
                               JOHN W TAYLOR
                         JOHNNY HOLLOWAY JR
                              JOHNNY L PICKETT
                               JOHNNY R DAVIS
                                 JOHNNY SMITH
                                 JOHNNY SMITH
                              JOHNR R QUILLEN
                               JOLENE HELSTEN
                              JOLONA S KINLAW
                                  JON D BUNDY
                                  JON D BUNDY
                                JON D WALTON
                                 JON H STEVENS
                            JON T GALLOWA SR
                                   JON T HOPE
                               JONAH P STREFF
                                JONAS A GOINS
                             JONATHAN B HYDE
                            JONATHAN C KRAUT
                           JONATHAN C RANKIN
                            JONATHAN COOPER
                            JONATHAN D JAMES
                           JONATHAN E DANIEL
                           JONATHAN J ASHTON
                          JONATHAN J KEARNEY
                           JONATHAN K SKAGGS
                           JONATHAN L ZARNDT
                              JONATHAN R KEYS
                          JONATHAN S MEEHAN
                          JONATHAN V SHIELDS
                          JONATHAN WILLIAMS
                           JONELLE R NEWMAN
                                  JONG LIN KIM
                                  JONI M AYALA
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 54 of 112 PageID #: 361


                                JONI M GILLMEN
                                   JONI M WHITE
                              JORDAN J BURGLIN
                       JORDAN P HOWARD-WILSON
                            JORGE A FERNANDEZ
                               JORGE A JIMENEZ
                                 JORGE RAMIREZ
                                  JOSE D HUERTA
                                JOSE E FIGUEROA
                                  JOSE F HUERTA
                               JOSE I RODRIGUEZ
                                 JOSE J ORNELAS
                               JOSE L DE LEON JR
                                JOSE M ANTIGUA
                                 JOSE M SANTOS
                                    JOSE M URRA
                               JOSE R MELENDEZ
                           JOSE ROMERO-TORRES
                               JOSEPH A BOWEN
                               JOSEPH A GIURFA
                           JOSEPH D MORALES JR
                            JOSEPH E MASCHLER
                                  JOSEPH GRECO
                             JOSEPH H JOHNSON
                              JOSEPH J MOORER
                             JOSEPH J SARACENO
                                JOSEPH J SCULLY
                                 JOSEPH JANWAY
                                 JOSEPH L LOPEZ
                              JOSEPH M CRAVER
                            JOSEPH M GUILLORY
                          JOSEPH M LANZAROTTA
                             JOSEPH M WYSOCKI
                                  JOSEPH N GILES
                             JOSEPH R BARBARO
                              JOSEPH S CALIMERI
                               JOSEPH T DEWITT
                                JOSEPH T DICKEY
                             JOSEPH T MORALES
                         JOSEPH W BOOKWALTER
                           JOSEPH W BUCHWALD
                           JOSEPHINE M MANFRE
                                  JOSH A THOME
                               JOSH J HOLLISTER
                                    JOSH L PETTY
                               JOSHUA A POLSKY
                            JOSHUA D DOWNING
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 55 of 112 PageID #: 362


                               JOSHUA E WYATT
                               JOSHUA L FOSTER
                               JOSHUA L STEELE
                                    JOSHUA LEE
                        JOSHUA M CHAMBERLAIN
                                  JOSHUA Q KEY
                                  JOSHUA Q KEY
                         JOSHUA R LANGENHEIM
                            JOSHUA TELLANDER
                            JOSHUA W FONGER
                                JOSIAH SEVERIN
                                  JOSIE L STRAIN
                                  JOY L HUGHES
                             JOY L RUTHERFORD
                                  JOY L SANDLIN
                                  JOY M SOFFER
                          JOYCE A MCBURROWS
                                   JOYCE CUDIA
                            JOYCE E PATTERSON
                             JOYCE F ROWLAND
                                   JOYCE RIVERS
                               JOYCE W SLATON
                              JOYNESSA F JONES
                             JUAN C LEAL-LOPEZ
                                JUAN C LINARES
                               JUAN F CASTANO
                                  JUAN F NUNEZ
                              JUAN J GONZALEZ
                            JUAN M RODRIGUEZ
                                 JUAN N GARCIA
                         JUAN R CRESPO CAJIGAS
                                JUAN R PIZARRO
                                JUAN R PIZARRO
                             JUANITA E BLANCO
                           JUANITO D TACORDA
                                JUDDY A HENRY
                                JUDDY A HENRY
                              JUDITH A DIGNEIT
                           JUDITH M WILLIAMS
                                  JUDY A FAULK
                                JUDY A FOWLER
                                   JUDY A KORB
                                 JUDY GILMORE
                                     JUDY TRAN
                                     JUDY TRAN
                               JULIA A CARRILLO
                                 JULIA L SHIRLEY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 56 of 112 PageID #: 363


                                 JULIA M TOTH
                          JULIA QUATTLEDAUM
                            JULIAN D SHELTON
                           JULIANA R GARZON
                              JULICIA CONNOR
                               JULIE A SEXTON
                               JULIE A SEXTON
                               JULIE A SMASNE
                          JULIE A STEIGERWALT
                               JULIE A WOODY
                              JULIE E COMELLA
                              JULIE E COMELLA
                               JULIE J THOMAS
                                   JULIE K AYER
                                  JULIE K LEWIS
                                  JULIE KILLIAN
                               JULIE M FORGIT
                                 JULIE M WEST
                                JULIE R BRIGHT
                              JULIENNE TAYAO
                                 JULIO C REYNA
                                JUMAANE HALL
                                   JUNEE P SIU
                            JUNIUS R HUGHES
                              JUSTIN D MILLER
                            JUSTIN E NEWTON
                             JUSTIN G MIDKIFF
                                  JUSTIN G RAY
                             JUSTIN M LAGINA
                             JUSTIN R GILBERT
                             JUSTIN R ROMINE
                             JUSTIN T POPKEN
                               JUSTIN WARREN
                             JUSTO P CABRERA
                              KAHLA M GREEN
                                KALA J PIESCHL
                           KALEENA C TILLMAN
                           KAMMESE SHELTON
                          KANDACE CARBAUGH
                            KAREN A CHILDERS
                             KAREN B MOODY
                            KAREN D JACKSON
                           KAREN E DONNELLY
                               KAREN E SMITH
                             KAREN FLAHERTY
                               KAREN J HARTLE
                           KAREN J WESTPHAL
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 57 of 112 PageID #: 364


                            KAREN L BRICKER
                             KAREN L FISHER
                              KAREN L STACY
                          KAREN L THORNBRUE
                         KAREN L WESTERMANN
                             KAREN M BYRD
                            KAREN M DRAPER
                             KAREN M ORTIZ
                            KAREN M SHIRLEY
                               KAREN OTEY
                              KAREN P TARSI
                            KAREN R MARTIN
                         KAREN R VANHOOSIER
                             KAREN S COZBY
                             KAREN S HORNE
                           KAREN S WILLIAMS
                            KARI M JACOBSEN
                           KARI Y HUNNICUTT
                            KARIE K BRADLEY
                             KARL BOCHENEK
                             KARL D LARSON
                             KARL D LARSON
                            KARLA D JORDAN
                             KARLA F PIERRE
                            KARLA J LIGHTNER
                              KARLA JORDAN
                            KAROLINA PANEK
                         KARREN M HOERSTING
                         KARREN M HOERSTING
                           KARYN R GARRISON
                            KARYN W RISHER
                             KASEY BROGAN
                            KASEY L WHEELER
                            KASSIE L GEORGE
                          KATE M MALINOWSKI
                             KATELYN A WAY
                             KATELYN L VEST
                             KATELYN L VEST
                          KATHARINA BURGESS
                           KATHERINE A CLAYA
                        KATHERINE A MCELVENY
                         KATHERINE A THOMAS
                         KATHERINE E BECKHAM
                          KATHERINE F COWAN
                             KATHERINE HILL
                           KATHERINE J EVANS
                        KATHERINE N MOLLOHAN
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 58 of 112 PageID #: 365


                             KATHIE A ROBERTS
                               KATHIE L BAILEY
                           KATHLEAN JEFFERSON
                            KATHLEEN A DOOLEY
                            KATHLEEN B ARCHER
                              KATHLEEN E BLAIR
                              KATHLEEN E BLAIR
                            KATHLEEN G SHIPLEY
                          KATHLEEN J CAMPBELL
                         KATHLEEN J RODRIGUES
                           KATHLEEN L BURITSCH
                          KATHLEEN L RAWLEIGH
                      KATHLEEN M VORDERBRUGGEN
                           KATHLEEN T HOBSON
                            KATHRYN B PHILLIPS
                              KATHRYN E MOSS
                          KATHRYN E ROCKWARE
                         KATHRYN M WISNIEWSKI
                               KATHRYN SHIRK
                           KATHRYN T ANTICOLA
                              KATHY B SENKBEIL
                            KATHY CARMICHAEL
                               KATHY HORTON
                               KATHY J MILLER
                                KATHY L GRAY
                              KATHY R OUTLAW
                             KATHY S COMBEST
                               KATIE A FOOTE
                               KATIE E PRINCE
                                 KATIE L BERO
                             KATIE L THOMPSON
                              KATIE M LAMBERT
                           KATIE M MARKIEWICZ
                          KATRENA L LIVINGSTON
                            KATRINA B JOHNSON
                              KATRINA L BAKER
                             KATRINA M EVANS
                              KAUTHAR N SOBH
                          KAWACHII R WILLIAMS
                                 KAY E OLSON
                              KAYANN M CROSS
                              KAYLA L BRADLEY
                            KAYLA M ROBERSON
                              KAYLA R KRAMER
                                KAYLA S BATES
                            KAYLENE M LUEDTKE
                               KAYTIE S SMITH
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 59 of 112 PageID #: 366


                            KEILAH B MCCALLEB
                             KEISHA D TAYLOR
                             KEISHA N WINDER
                            KEITH A JEROME SR
                             KEITH D ERICKSON
                              KEITH E REJONIS
                                KEITH MATLIN
                               KEITH R LUTTER
                               KELCIE M KOPF
                              KELDA L BARKER
                            KELLEE M DOUGLAS
                            KELLEY A PEATROSS
                              KELLEY M DUNAY
                            KELLEY R MEREDITH
                              KELLI D KETRING
                                 KELLI LOMAS
                             KELLI M CORDOVA
                                KELLI R FISHER
                                KELLI R FISHER
                                KELLIE KNOPP
                            KELLIE M EDWARDS
                             KELLY A MATLOCK
                           KELLY A SCHOENFELD
                             KELLY A WALTERS
                               KELLY A WELLS
                              KELLY B KAUFLIN
                                 KELLY BAKER
                                KELLY C BELUE
                           KELLY E BLANKENSHIP
                             KELLY E RUSINACK
                            KELLY J BLOMBERG
                               KELLY J BRUNN
                               KELLY J DELZER
                             KELLY J EVERHART
                         KELLY L KNUDSON MANN
                              KELLY L MAGLIO
                              KELLY L POLLARD
                                KELLY L SMITH
                               KELLY L WILSON
                               KELLY M HIXON
                               KELLY M KEAGY
                               KELLY M KEAGY
                               KELLY M LITSEY
                              KELLY M MOONE
                             KELLY P DONOHUE
                             KELLY R DARDEEN
                          KELLY R MONTGOMERY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 60 of 112 PageID #: 367


                         KELLY R MONTGOMERY
                              KELLY R SCHADE
                               KELLY S BAKER
                             KELLY S GORMAN
                                KELLY S HERR
                           KELLY W MCQUEEN
                             Kendall C Thomas
                           KENDALL R NEGRICH
                           KENDRA A KENNEDY
                            KENDRA D WALTER
                           KENDRA M PERROU
                           KENDRA MARSHALL
                           KENDRA R VENTURA
                           KENDRIA PETTAWAY
                             KENISHA B DAVIS
                        KENNETH C LIGHTNER SR
                          KENNETH E PENLAND
                          KENNETH L CORMIER
                           KENNETH L POWERS
                            KENNETH N LEVINE
                           KENNETH P ADAMS
                         KENNETH P KOMBEREC
                         KENNETH R GEMALSKY
                           KENNETH R MORRIS
                              KENNETH R ORR
                         KENNETH R WATSON JR
                         KENNETH W CARDWELL
                           KENNETH W LANIER
                            KENNY M NELSON
                       KENPIYA A FOMPUN-JOSEPH
                           KENTREL M BIGGINS
                          KENZIE A THOMPSON
                              KERI A SCHULTZ
                               KERRI DOOLEY
                            KERRY C WILLIAMS
                             KERRY G COLLINS
                          KERRY L MCPHERSON
                                KERRY M DAY
                              KERRY Y DUDLEY
                          KERWIN D DE LAROSA
                             KESHA R HOBLEY
                               KESHA S MANN
                               KEVIN A JONES
                           KEVIN A KOHLHOFF
                               KEVIN D HAYES
                            KEVIN D JOHNSON
                             KEVIN F ALSTON II
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 61 of 112 PageID #: 368


                               KEVIN HOWER
                               KEVIN J PAULY
                           KEVIN J SHOEMAKER
                             KEVIN L GOFORTH
                            KEVIN M DEFORGE
                              KEVIN M FUNEZ
                              KEVIN M FUNEZ
                              KEVIN M POOLE
                               KEVIN MASON
                             KEVIN MCCREEDY
                               KEVIN P CALER
                            KEVIN P CAMPBELL
                              KEVIN P HARRIS
                              KEVIN R CORLEY
                                KEVIN S BRITT
                             KEVIN S HOOVEN
                             KEVIN T DURHAM
                            KEVIS J NORWOOD
                          KEVORK KALAYEDJIAN
                             KHALILAH TOOLE
                               KHYLA BRANDT
                              KIERRA Q SUGGS
                             KIM A BURTMAN
                             KIM A BURTMAN
                               KIM A DOWDY
                             KIM A STAFFORD
                             KIM BUCKHALTER
                               KIM C NELSON
                                 KIM E CRIST
                                 KIM GOSSER
                             KIM M LIENHARD
                                  KIM PRATT
                                KIM T BYROM
                          KIMBERLEE E BATEAST
                          KIMBERLEY HARRISON
                         KIMBERLEY M DARNELL
                            KIMBERLEY R DIALS
                             KIMBERLY A BACK
                             KIMBERLY A CAIN
                          KIMBERLY A GONZALEZ
                           KIMBERLY A HASKETT
                          KIMBERLY A HOUSTON
                            KIMBERLY A KUIECK
                           KIMBERLY A LUPPINO
                         KIMBERLY A OBERACKER
                           KIMBERLY A VICKERS
                          KIMBERLY C LOCKHART
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 62 of 112 PageID #: 369


                               KIMBERLY D COX
                             KIMBERLY D LOWER
                            KIMBERLY D PORTER
                            KIMBERLY D PORTER
                             KIMBERLY E TABOR
                              KIMBERLY K DEAL
                              KIMBERLY K KIRTS
                             KIMBERLY K RAMOS
                         KIMBERLY M ANDERSON
                            KIMBERLY M BENITO
                           KIMBERLY M BOATNER
                           KIMBERLY M CARLTON
                           KIMBERLY M CARLTON
                             KIMBERLY N JONES
                            KIMBERLY N NGUYEN
                            KIMBERLY P TUCKER
                          KIMBERLY R ENGSTROM
                            KIMBERLY R STEVENS
                           KIMBERLY RODRIGUEZ
                            KIMBERLY S JACKSON
                           KIMBERLY S MORGAN
                       KIMBERLYN N JOHNSON RUISE
                            KIMYARDA K NAYLOR
                           KIRIAKI KOYMARIANOS
                              KIRK D PETERSON
                            KODZO R FORTUNAT
                             KONIQUICA T BADIE
                            KONO HECKENLAIBLE
                             KORINNE R DUVALL
                          KORTNEY A MCCARTHY
                              KOWSAR A KHAN
                               KRIS A MORENO
                                KRIS ROBBINS
                          KRISLLOYD B ENRIQUEZ
                             KRISTA E BEAUDOIN
                                KRISTA J POAG
                             KRISTA J SHUFFETT
                               KRISTA K BERRY
                               KRISTAL M ORIS
                               KRISTAL M ORIS
                              KRISTEN K BLOOM
                            KRISTEN L CHESTNUT
                              KRISTEN L SCHEER
                              KRISTEN L SCHEER
                              KRISTEN R KELLEY
                           KRISTI A HUNTINGTON
                                KRISTI B COOK
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 63 of 112 PageID #: 370


                              KRISTI E RUHMAN
                             KRISTIE K HENSON
                               KRISTIE M ROSE
                             KRISTIE R HOOVEN
                             KRISTIEN N EVANS
                               KRISTIN G LESLIE
                             KRISTIN K GRUBER
                            KRISTIN L BEVERAGE
                              KRISTIN L BIRNEY
                               KRISTIN L HASH
                              KRISTIN L ROLLER
                               KRISTIN L SMITH
                            KRISTIN M HERBERT
                          KRISTIN M MIDDLETON
                             KRISTIN N BUNDRA
                              KRISTIN N YONUT
                            KRISTINA M CORWIN
                           KRISTINA M OVERTON
                           KRISTINA M OVERTON
                              KRISTINE B ODOM
                            KRISTINE E BURTON
                         KRISTINE G ALUMBAUGH
                             KRISTINE S MONET
                         KRISTOPHER A LOLLMAN
                         KRISTOPHER M HARMAN
                             KRISTY L SHEPPARD
                            KRISTY L SHERWOOD
                            KRISTY M NEWBURN
                              KRISTY R DETIEGE
                       KRIZIA S GONZALEZ SANCHEZ
                                KRYSTA D HILL
                              KRYSTAL K ROZIER
                              KRYSTAL L BLACK
                          KRYSTAL MARI MEDINA
                             KRYSTAL R BARTON
                         KRYSTLE N VANDERBEEK
                         KRYSTLE N VANDERBEEK
                               KUMIKO T BIRD
                                KYAN M ELSEY
                              KYLE C COLEMAN
                               KYLE G LARSON
                                KYLE J LINTERN
                              KYLE R REYNOLDS
                              KYRA D BURTHAY
                             KYRA D KNEELAND
                                 KYRA TROAST
                              LABEAUSHA HOLT
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 64 of 112 PageID #: 371


                               LACAROLE LLOYD
                               LACEY J MAGGIO
                         LACEY L WHITT MCMUNN
                                  LADDA LIPPS
                              LADONNA A ROSS
                                 LAEL MORRIS
                             LAKESHA S JORDAN
                           LAKESHA T GILLESPIE
                           LAKHEITA D PORCHIA
                             LAKISHA C BARNES
                            LAKISHA D PROVOST
                             LAKISHA PROVOST
                             LAMON L SIVILS JR
                              LANA K MCCLURE
                              LANCE H MCCABE
                              LANCE R LALONDE
                              LANDEIRA YOUNG
                               LANDON L BUCK
                            LANE D BARNHOLTZ
                                LANE D SMITH
                             LANESHA D MOHIP
                              LANETTE BRIDGES
                            LANIECE L BELIZONE
                           LAQUITA M HOGANS
                              LARESI A GRILLIER
                                  LARRY A JAY
                                 LARRY BAKER
                               LARRY D HANNA
                             LARRY D KENNEDY
                              LARRY D MOWRY
                              LARRY E NAEGELE
                              LARRY F CYMBALA
                              LARRY G HENSLEY
                                LARRY S POOLE
                            LASHARI D WHITNEY
                        LASHAUNDRA N MARSHALL
                             LASHAWN C SHARP
                             LASHEL A BRADLEY
                           LASHELL R ROBINSON
                           LASHUNDA C PORTER
                            LATANYA M MIXON
                           LATASHA PARKMOND
                           LATASHA T STEWART
                                 LATIF O GIWA
                             LATISHA A PORTER
                             LATISHA J PHILLIPS
                              LATISHA K YOUNG
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 65 of 112 PageID #: 372


                               LATISHA PARHAM
                             LATONYA COLEMAN
                              LATOYA L BURTON
                                LATOYA R BOYD
                            LATOYA S BOSEMAN
                                LATOYA YOUNG
                                LATOYIA C LYLES
                            LATOYIA M HENNING
                              LATRICA S PARKER
                             LAURA A DAVIDSON
                                 LAURA B LUNA
                                LAURA BUEHLER
                                 LAURA CARTER
                         LAURA E BARROSO HAZIM
                        LAURA E GONZALEZ RAMOS
                              LAURA E WILLIAMS
                                  LAURA G DIAL
                                  LAURA G DIAL
                              LAURA HARGRAVE
                                LAURA J HARRIS
                               LAURA J MALLOW
                               LAURA J MCBRIDE
                             LAURA J SONGSTER
                             LAURA J ZIENOWICZ
                               LAURA K VANNAH
                                 LAURA L KELLY
                                 LAURA L WITTS
                           LAURA M CRAWFORD
                                LAURA M SIEGEL
                             LAURA M WILLIAMS
                             LAURA P MCDANIEL
                             LAURA P MCDANIEL
                               LAURA VILLESCAZ
                             LAUREN A PURYEAR
                               LAUREN E BURNS
                             LAUREN E KRUCZYK
                             LAUREN E KRUCZYK
                                LAUREN J ALBEE
                         LAUREN M FALCONBURG
                                LAUREN T KELLY
                           LAURENE A OVERMIER
                                LAURI A MOODY
                               LAURIE M CANTU
                           LAURIE P ROCHELEAU
                              LAVANCY J TAYLOR
                              LAVANCY J TAYLOR
                            LAVELL W WHITFIELD
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 66 of 112 PageID #: 373


                            LAVON C SMITHSON
                               LAVON MORELL
                            LAVORYA A BEAVER
                       LAWANNA CLEMONS MINOR
                           LAWRENCE E BELL JR
                          LAWRENCE J OBRIEN JR
                        LAWRENCE M MORABITO
                           LAWRENCE MOBILIO
                                  LEAH J HUNT
                                 LEAH K RAGLE
                                LEAH R EVANS
                                  LEAH SCOTT
                              LEANN A PATTON
                           LEANNE W ROGHAAR
                              LECTISHA L ROCK
                           LEDEANE A STEWART
                            LEDELL A EDWARDS
                                LEE B GIBBONS
                                 LEE CHASTAIN
                                  LEE L WILLIS
                                LEE W GIBSON
                             LEE W SINGLETON
                              LEEANN M EVANS
                                LEEANN WELLS
                               LEGRAND GOLD
                                LEILANI A BAEZ
                            LEKESHIA J WALTON
                             LELIA M VALASTER
                              LENA R WEISMAN
                           LENORE S GOLDSTEIN
                               LEON G LOFTIN
                            LEON N JACKSON III
                           LEONARD B LUNA SR
                         LEONEL A PEREZ ROMAN
                             LEOPOLD LOFTERS
                               LEORA L SMITH
                                LEROY MARTIN
                                   LESA A ROY
                              LESHAI A RADNEY
                               LESIA G JORDAN
                               LESIA G JORDAN
                           LESIA J FARRISBLAND
                            LESLIE A BROOKING
                              LESLIE A DVORAK
                            LESLIE A PRUIKSMA
                           LESLIE A VAN METER
                             LESLIE B LAMBORN
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 67 of 112 PageID #: 374


                              LESLIE D BROWN
                               LESLIE D CASEY
                                LESLIE F GOINS
                                LESLIE F GOINS
                            LESLIE H NICHOLAS
                             LESLIE J SCHADLER
                              LESLIE L FRANKE
                              LESLIE L FRANKE
                                 LESLIE S COLE
                                LESLIE S RAUP
                               LESTER L MILLS
                               LETASHA C SAIN
                                LILA A MOORE
                             LILIA DESANTIAGO
                              LILIA E MORENO
                             LILIANA LORENZO
                              LILIANA VARGAS
                           LILLIAN M ARMENTA
                              LINDA A GAGNER
                               LINDA B SPIVEY
                          LINDA C MULLINEAUX
                              LINDA COLEMAN
                                LINDA F DAVIS
                              LINDA J WORLEY
                              LINDA K HUSTON
                              LINDA K HUSTON
                           LINDA K MCDOWALL
                               LINDA L MILLER
                              LINDA L MOBILIO
                            LINDA M HUEBNER
                             LINDA M PERRINE
                               LINDA M STUCH
                                 LINDA PRISO
                               LINDA S JACOBY
                                 LINDA S LUTZ
                                 LINDA S LUTZ
                             LINDA S SESSIONS
                               LINDA S STUBBS
                            LINDSAY L VAUGHN
                             LINDSAY R EURICH
                               LINDSEY C JAGO
                          LINDSEY D SWANSON
                             LINDSEY R EMERY
                            LINDSEY R PHILLIPS
                                 LISA A BURKE
                                 LISA A JONES
                            LISA A MCLENDON
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 68 of 112 PageID #: 375


                             LISA ANN E KUHNS
                                  LISA BARON
                               LISA D PHILLIPS
                               LISA E ALLISON
                                LISA E BOYKIN
                              LISA E PANTUSO
                                  LISA FUNEZ
                            LISA G EBERHARDT
                               LISA L ASHTON
                                  LISA L ELIAS
                             LISA L PATTERSON
                              LISA M BEHERNS
                                 LISA M BONE
                                 LISA M BONE
                                LISA M CAINE
                          LISA M GILLENWATER
                              LISA M KOSALSKI
                                LISA M MAUS
                               LISA M MILLER
                                LISA M SIVILS
                               LISA MARTINO
                                   LISA MEZA
                                LISA R BUTLER
                       LISA R GRAHAM-ALEXANDER
                                  LISA R TATE
                              LISA SCHAEFFER
                             LISA SIMON-LEWIS
                                LISA V DEEBLE
                                 LISA WRIGHT
                              LISETTE F ALENT
                              LISSA A ROMERO
                                 LIZA C SMITH
                               LIZETTE MARTI
                              LLOYD A HEBERT
                               LOGAN J GRAY
                            LOGAN P BARBICHE
                            LOIS J EVANS-TROJE
                           LOIS J WALLSGLOVER
                          LOLITA S MANANSALA
                            LONNIE L DARDEEN
                             LONNY T POWELL
                                LORA A HUNT
                            LORA M GRIESHOP
                             LOREAL S WILSON
                             LOREAL S WILSON
                           LOREN H ARMSTEAD
                           LORENA F REVOREDO
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 69 of 112 PageID #: 376


                              LORENA L SOBHI
                           LORENZO D HERRING
                           LORENZO F SALGADO
                          LORETTA D STEPHENS
                         LORETTA J FINKENBERG
                              LORETTA L LANE
                          LORETTA N DRINKARD
                                  LORI A NEST
                              LORI A NEWMAN
                              LORI A SANDERS
                                 LORI A SHAW
                                 LORI D FLINT
                                LORI E COWEN
                            LORI G SCHROEDER
                              LORI L HAMMER
                              LORI L MOSELEY
                             LORI M MANGUM
                          LORI MACNAUGHTON
                            LORIANN I GRIMES
                             LORINE S DANIELS
                             LORINE S DANIELS
                               LORNE D JONES
                             LORRAINE M BELL
                          LORRAINE M STROUSE
                              LORRAINE ORTIZ
                               LOUIS A COZBY
                              LOUISE E SPRULL
                               LOUISE MCNEIL
                               LOVELEN PYLES
                               LUANN J OLSON
                               LUCAS S LOGAN
                            LUCY M GALLEGOS
                              LUDVIN HASBUN
                                LUIS A ESPINO
                                LUIS A ESPINO
                                LUIS A TORRES
                               LUKE C GILBERT
                              LUKE E PNIEWSKI
                                LUNA M NASH
                                 LUNETTE OTT
                               LUPE T LOZADA
                                LUZ MORALES
                              LUZ V MANZANO
                           LUZMEILYN MANSUR
                            LY T XAYNHASONE
                             LYDIA I MARTINEZ
                             LYDIA T BISQUERA
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 70 of 112 PageID #: 377


                            LYNDA H MAXSON
                        LYNDSAY M DEPASQUALE
                             LYNETTE Y NILES
                            LYNN D YOUNGER
                         LYNN T THOMAS-PERRY
                           LYNNETTE E VOGLER
                            LYUDMILA GLADKY
                            LYVONIA S RIVERS
                        MABEL LARSEN RODRIGUEZ
                          MADALYN H KNUDSEN
                          MADALYN H KNUDSEN
                          MADELINE M KELLER
                             MAGGIE E WELCH
                             MAHIR T ZUBERI
                         MAHMMAD A SEKANDAR
                          MAHRISA D JOHNSON
                            MAJADA R PORTER
                       MAKISHA PRESSLEYCALLAHAM
                           MALIKA C BELLAMY
                           MALIKA C BELLAMY
                             MALIKAK S REED
                           MALINDA J THOMAS
                           MALLIKAH A SHARP
                           MANAGAN L MCKAY
                           MANAGAN L MCKAY
                            MANDIE H CLOUD
                            MANDY M PARKER
                            MANUEL L SENA JR
                            MARC H SCHEFFEL
                            MARC W FLEMING
                         MARCELLA M FREBURG
                           MARCELLA S CHILDS
                             MARCI A WILSON
                             MARCIA J KUBILIS
                          MARCIA M WILLIAMS
                          MARCIA THOMPSON
                              MARCIE R TOAY
                              MARCO YOUNG
                          MARCOS J RODRIGUEZ
                              MARCOS ORTIZ
                            MARCUS A MYRICK
                            MARCUS D FULLER
                             MARCUS J WOOD
                          MARCUS W SHUMANS
                        MARGARET A MATHESON
                       MARGARET BRAZEAU MILLER
                          MARGARET C BELCHER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 71 of 112 PageID #: 378


                         MARGARET M ORTLIEB
                        MARGARETTE ANASTACIO
                            MARGIE A SAGE
                             MARGOT JUST
                          MARGOT M ANAYA
                         MARGUERITE C CROSS
                           MARIA A ALLEGRA
                        MARIA C SNOW-MCADAMS
                              MARIA CORB
                          MARIA D ARELLANO
                          MARIA D RODRIGUEZ
                             MARIA E CRUZ
                           MARIA E PHILLIPS
                          MARIA E PRITCHARD
                           MARIA F CORDERO
                            MARIA FARRIOR
                            MARIA I PATTON
                           MARIA J DA SILVA
                           MARIA MERCADO
                             MARIA T ANHZ
                           MARIAN D SMITH
                           MARIAN D SMITH
                          MARIANNE L TEDDER
                           MARIE A CHAPPEL
                           MARIE A CHAPPEL
                            MARIE DAUREL
                           MARIE L PITTMAN
                           MARIE L PITTMAN
                             MARIE M IZZI
                             MARIE T KREIS
                         MARIECHRISTI CONLON
                            MARILYN ORTIZ
                          MARILYN S MATHIS
                          MARINA E GAJDUKO
                            MARINA K ROJAS
                          MARINA V ELIZONDO
                             MARIO A DIAZ
                            MARIO A NERO
                           MARIO M BRANCH
                          MARIO M WATKINS
                             MARIO T LEOS
                           MARION L CARTER
                           MARISA L MCKIM
                          MARISEL VALENTIN
                        MARJA-LIISA L JOHANSON
                          MARJORIE AIRANDO
                          MARJORIE G BERISH
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 72 of 112 PageID #: 379


                          MARJORIE L DWINAL
                            MARK A EVANS
                           MARK A GRABINA
                            MARK A KEMP
                          MARK A LANCASTER
                            MARK A LUCICH
                             MARK A RILEY
                            MARK A STALEY
                          MARK A STYCZYNSKI
                           MARK A SWITZER
                           MARK A THOMAS
                            MARK D BUIKE
                            MARK D DINGEE
                             MARK D HILL
                             MARK E PATE
                            MARK E ROADY
                           MARK E WESTON
                         MARK I STEIGERWALT
                           MARK J MADDOX
                          MARK K KIRKWOOD
                           MARK L LAPSLEY
                           MARK R WALLEN
                           MARK S BRITTON
                           MARK S SHANER
                           MARK S WEISMAN
                           MARK T HICKMAN
                            MARK W COLES
                            MARK W COLES
                            MARK W NIXON
                           MARK W SMALLEY
                           MARK W SMALLEY
                        MARKEETA L HENDERSON
                         MARKEYTA D STANTON
                            MARKS E SMITH
                          MARLENE A YODER
                            MARLENE P COX
                           MARLO S ZAPPLEY
                          MARLON D MCKIM
                           MARSHA D PORCH
                         MARSHA J SCHWARTZ
                           MARSHA L AUSTIN
                          MARSHA L WHITSEY
                           MARSHA M KORN
                         MARSHALL S SANDERS
                       MARTHA A MENDEZ-TRELLES
                       MARTHA E TALERONIK DORFF
                        MARTHA M MISENHEIMER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 73 of 112 PageID #: 380


                           MARTHA N PEREZ
                           MARTHA S ENLOE
                           MARTHA S KREBS
                           MARTIN J BOREN
                          MARTIN SCHROEDER
                          MARTIN SCHROEDER
                            MARTIN ZARATE
                          MARTINA J SLOANE
                         MARTINA M THOMAS
                           MARTIS C SAJONA
                           MARTY J SANCHEZ
                           MARVIN L NEVELS
                          MARY A ARGENTINO
                            MARY A EDSALL
                           MARY A ENGLISH
                           MARY A HOBSON
                              MARY A LEE
                            MARY A QUILES
                             MARY A WINN
                            MARY B EVANS
                        MARY B GANTT-ROBINSON
                           MARY BURLESON
                          MARY C THEOBALD
                          MARY E BIDOCHKA
                            MARY E CASTRO
                            MARY E CONLEY
                            MARY E EGGERS
                           MARY E MEGGETT
                              MARY E WISE
                           MARY F CORRAO
                            MARY F HAYDEN
                            MARY G SMITH
                           MARY J FAULKNER
                            MARY K MILLER
                            MARY K STEFFEY
                           MARY K STURGIS
                             MARY K WILLIS
                             MARY L COBB
                           MARY L MEROLA
                       MARY L MOSS-CUSHINGBERR
                              MARY LEWIS
                           MARY M HUBERT
                           MARY P INGRAM
                              MARY PINON
                            MARY STRANGE
                           MARY T WRIGHT
                          MARYROSE A DUDEK
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 74 of 112 PageID #: 381


                          MASON A BEPPLER
                            MASTIN BAILEY
                        MATHEW D HILDEBRANT
                           MATT C DOLLARD
                          MATTHEW A BLACK
                         MATTHEW C BOWMAN
                         MATTHEW C DRAVEN
                          MATTHEW C KEUNE
                          MATTHEW C MAHER
                         MATTHEW D BENNETT
                         MATTHEW D JAMESON
                          MATTHEW D LYONS
                        MATTHEW D ROBERTSON
                           MATTHEW E BELL
                          MATTHEW J CONN
                          MATTHEW L DUPIN
                         MATTHEW LOVELAND
                        MATTHEW M KARALUNAS
                           MATTHEW R DALE
                          MATTHEW R GIBBS
                          MATTHEW S GORE
                          MATTHEW SCHULT
                          MATTHEW SPARKS
                          MATTHEW SPARKS
                        MATTHEW T ARCHIBALD
                         MATTHEW T STEPHENS
                            MATTIE L DOSS
                          MAUREEN H PURVIS
                          MAUREEN L PEERY
                         MAUREEN S GWAZDA
                         MAUREEN SEITZINGER
                         MAURICE D ANTHONY
                          MAURICE S COLLIER
                          MAVIS E CAMPBELL
                            MAX B DOTY JR
                          MAYNARD M ALIDO
                            MAZIE K HOEFT
                         MCKENZIE J SARGENT
                           MEAGAN D WARD
                           MEAGAN L WELSH
                           MEAGAN M BIEHL
                        MEAGAN M MAKATURA
                           MECHEAL L BOEN
                           MECHEAL L BOEN
                           MEEGAN E MEEKS
                           MEGAN L KATHER
                          MEGAN L MCCARTY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 75 of 112 PageID #: 382


                            MEGAN L STUMP
                           MEGAN L TRIMBLE
                           MEGAN S PEPPARD
                          MEGEAN C LEDBETTER
                            MEGHAN E LEARY
                           MEGHAN T BRYANT
                           MEGHAN T TERPAK
                            MELA J FREEMAN
                         MELANEE S CULLINANE
                          MELANIE A ROBERTS
                            MELANIE B IANNI
                            MELANIE D JETT
                            MELANIE E DAVIS
                            MELANIE F SMITH
                         MELANIE H STEINMETZ
                          MELANIE L CORMELL
                            MELANIE L HAWE
                          MELANIE L PEARSON
                          MELANIE M WALTERS
                         MELANYE L LAFERRARA
                            MELINDA L FURRY
                           MELINDA N BAKER
                           MELINDA R RUSSELL
                          MELINDA S MARQUEZ
                           MELISA CROSSLAND
                           MELISSA A GINKEL
                           MELISSA A WALSH
                           MELISSA B BECKER
                           MELISSA E MCNABB
                             MELISSA J BAER
                            MELISSA J DAVIS
                            MELISSA J DAVIS
                             MELISSA J DIAZ
                          MELISSA M HILLIARD
                       MELODIE V PATTERSON TERRY
                             MELODY BIRCH
                          MELODY S LONGWILL
                           MELONI N BOLYER
                           MELVIN A HOCKING
                            MELVIN L GRANT
                           MELYNDA L EATON
                          MENDY J FERGUSON
                            MENDY R WEARS
                            MERL K KELTNER
                            MERLE E COFFIN
                         MERRIANNE P ZAMORA
                            MERVAT Y NASRY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 76 of 112 PageID #: 383


                           MESHA BATCHMAN
                           MESHA BATCHMAN
                          MESHAN N MCQUEEN
                             MIA D WOODS
                           MICAH F HUDSON
                            MICHAEL A BIRD
                         MICHAEL A HAGERMAN
                           MICHAEL A JIBODH
                          MICHAEL A LUNDY II
                          MICHAEL A MIKESELL
                          MICHAEL A SANTIAGO
                           MICHAEL A SAXTON
                           MICHAEL A SHILOT
                           MICHAEL A SMITH
                           MICHAEL A SMITH
                        MICHAEL A SUNDERMANN
                        MICHAEL A SUNDERMANN
                          MICHAEL A WALOLAK
                           MICHAEL B HUSSEY
                            MICHAEL B YOST
                           MICHAEL BARENDT
                        MICHAEL C CRAWFORD SR
                         MICHAEL C DAVENPORT
                         MICHAEL C MALMFELDT
                           MICHAEL C STATEN
                         MICHAEL C THEOBALD
                         MICHAEL D BLACKBURN
                         MICHAEL D HAMMOND
                         MICHAEL D HOUSLEY II
                           MICHAEL D KRAUT
                           MICHAEL D KRAUT
                          MICHAEL D MUSE SR
                           MICHAEL D WILSON
                           MICHAEL E SMITH
                           MICHAEL F COLLINS
                           MICHAEL G MAGEE
                         MICHAEL G TOWNSEND
                         MICHAEL G TOWNSEND
                          MICHAEL H PATRICK
                         MICHAEL J BOWMAN JR
                         MICHAEL J CLEAVENGER
                            MICHAEL J GAVIN
                            MICHAEL J HALE
                          MICHAEL J KOEPNICK
                        MICHAEL J LANGENSTEIN
                           MICHAEL J SAWYER
                         MICHAEL J SUTMAIER JR
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 77 of 112 PageID #: 384


                          MICHAEL J WILLIAMS
                        MICHAEL K HILDRETH JR
                            MICHAEL L BLAIR
                           MICHAEL L DREW
                            MICHAEL L EZELL
                          MICHAEL L FROLLINI
                           MICHAEL L GAULD
                        MICHAEL L WASHINGTON
                          MICHAEL L WRIGHT
                           MICHAEL LANGLEY
                           MICHAEL N MILLER
                           MICHAEL P KIRBY
                           MICHAEL PAYNES
                          MICHAEL R BURTON
                          MICHAEL R EPHRAIM
                          MICHAEL R EPHRAIM
                           MICHAEL R MOTT
                         MICHAEL R SCHUELER
                           MICHAEL R SLAVIK
                           MICHAEL S LEWIS
                           MICHAEL S MCKEE
                           MICHAEL T COLES
                         MICHAEL T MANSFIELD
                          MICHAEL T STANTON
                           MICHAEL U DOOSE
                           MICHAEL W EVANS
                          MICHAEL W HARRIS
                           MICHAEL W ROSE
                          MICHAEL W WALLER
                         MICHAELA R STARRETT
                       MICHEAL C WASHINGTON JR
                          MICHELE A WILLIAMS
                          MICHELE A WILLIAMS
                           MICHELE E BACKER
                          MICHELE L DONAHUE
                        MICHELE L SANTANIELLO
                           MICHELE LOBDELL
                           MICHELE R ALLEN
                         MICHELE ROBOSTELLO
                         MICHELLE A BERTONE
                           MICHELLE A CAVE
                          MICHELLE A CEDENO
                          MICHELLE A DUDEK
                          MICHELLE A MCLEAN
                          MICHELLE AFFOLDER
                         MICHELLE C SANDOVAL
                           MICHELLE D ABELN
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 78 of 112 PageID #: 385


                          MICHELLE FITZPATRICK
                         MICHELLE H THORNTON
                          MICHELLE HELGERSON
                           MICHELLE JACKSON
                           MICHELLE K TOVAR
                           MICHELLE L DANIELS
                          MICHELLE L FERGUSON
                          MICHELLE L NARCISSE
                          MICHELLE L REPPART
                            MICHELLE L SABIN
                           MICHELLE L SMITH
                            MICHELLE L VELTE
                          MICHELLE L VENTURINI
                          MICHELLE L VENTURINI
                           MICHELLE M BUTKA
                         MICHELLE M LOCKWOOD
                           MICHELLE M LOGAN
                           MICHELLE M RUSH
                          MICHELLE MENENDEZ
                           MICHELLE R CHUNG
                         MICHELLE R GURZYNSKI
                            MICHELLE T BIALA
                       MICHELLE T FREEMAN-FOLDS
                             MIEKO R SMITH
                          MIGUEL K FRANCISCO
                           MIHELLE MITCHELL
                              MIKE D FOX
                             MIKE POLLARD
                          MIKKAA D MCQUEARY
                            MILDRED HINTON
                           MILDRED I SHARPE
                             MILES T ALLEN
                          MILEYDIS DOMINGUEZ
                           MILTON B JONES SR
                             MILTON R LAIRD
                              MINDY D ROY
                             MINDY SKINNER
                            MINERVA E REYNA
                            MINERVA E REYNA
                       MINERVA S QUINONES GUADA
                            MINGEE,RANDY E
                          MIRANDA C HUDSON
                            MIREYA A CASTRO
                          MISTY D HENDERSON
                            MISTY D HERBERT
                             MISTY L ARCHER
                           MISTY L FITZGERALD
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 79 of 112 PageID #: 386


                            MISTY L JUSTICE
                            MISTY L JUSTICE
                          MISTY L SNEERINGER
                             MISTY N COBB
                             MISTY PERRINE
                             MISTY ROGERS
                            MITCHELL P KASS
                           MOANA FRIANEZA
                           MOLLY A SWITZER
                             MOLLY MILLER
                             MOLLY MILLER
                          MONA A WIREBAUGH
                          MONA M WENTLING
                          MONICA C GODFREY
                           MONICA CHAPPELL
                           MONICA D PICKETT
                            MONICA E DAVIS
                           MONICA J PARRIES
                           MONICA L LOBATO
                          MONICA M HARLOW
                          MONICA N DIMASCIO
                            MONICA R DIXON
                           MONICA R HAYMAN
                            MONICA S BANDY
                           MONIQUE A MILLER
                           MONIQUE A MILLER
                          MONIQUE F QUILLEN
                           MONIQUE MOORE
                           MONIQUE QUIROZ
                          MONROE RICHMOND
                          MONTCLAIR S MOODY
                            MOSES M LINEN
                           MRS BETTY J KELLY
                            MURRAY SHARP
                            MUSTAFA AKYOL
                            MUSTAFA AKYOL
                           MWANDISHI SMITH
                           MYLA-TOI LAMPKIN
                          MYLINDA S HESSELING
                         MYRNA G FADRIQUELA
                            MYRNA L JENSEN
                           MYRTLE G HERMAN
                            MYRVA A JOSEPH
                            NADER ABADEH
                            NADINE L YOUNG
                       NAHTASHA C GARZA-SWINDLE
                       NAHTASHA C GARZA-SWINDLE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 80 of 112 PageID #: 387


                           NALISHA D KELLOGG
                         NANCY A CHRISTIANSEN
                             NANCY A FISHER
                             NANCY A KLOTH
                            NANCY E BROWN
                             NANCY E TISDEL
                           NANCY L WILLIAMS
                            NANCY S OSTAPUK
                        NANCY VONGVIENGKHAM
                         NANNETTE NICHOLSON
                            NARENDRA SINGH
                            NATALIE BONILLA
                            NATALIE D LEWIS
                            NATALIE E CONDE
                         NATALIE E PANCHENKO
                            NATALIE L JAMES
                          NATHAN C DICKINSON
                           NATHAN C GINDELE
                             NATHAN C ODAY
                            NATHAN E LEVINE
                         NATHAN M CRAWFORD
                            NATHAN SCHMIDT
                         NATHANIEL ASHMON JR
                           NATHANIEL BLANKS
                            NATHANIEL LEWIS
                          NATHEN A ERICKSON
                            NAVID EGHBALIEH
                            NEDA THOMPSON
                            NEIL S STAYROOK
                              NELCE B TODD
                             NELDA WALLER
                              NELLIE B AMEY
                          NERINA P FELUMERO
                           NESTOR A JARDINEL
                            NESTOR W PAYNE
                            NESTOR W PAYNE
                              NETTIE L DAVIS
                              NETTIE L DAVIS
                         NEVEN V MARINKOVICH
                           NEVIN M ELKAMAH
                              NHUT NGUYEN
                            NICHELL L HURLEY
                         NICHOLAS A ANDERSON
                         NICHOLAS B ROBINSON
                         NICHOLAS D HIRSCHFELT
                          NICHOLAS D NAEGELE
                          NICHOLAS GILCHRIST
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 81 of 112 PageID #: 388


                            NICHOLAS I ANGERER
                            NICHOLAS J ARMOUR
                             NICHOLAS J BARNA
                            NICHOLAS J MAUS III
                             NICHOLAS M JONES
                           NICHOLAS P DE CONZO
                              NICHOLAS R SUHY
                              NICHOLAS R SUHY
                             NICHOLAS R WEBB
                          NICHOLAS S DELMASTRO
                             NICHOLAS W JONES
                           NICHOLE M DENNING
                            NICHOLLE L BECKERT
                                NICKI HARTLE
                             NICKOLE N LOZANO
                             NICOLE A BARRETT
                       NICOLE A BECKETT-DENSMORE
                             NICOLE A LEGGETT
                                NICOLE BATES
                              NICOLE CORBETT
                               NICOLE D HECK
                               NICOLE D LAUB
                             NICOLE D RANDALL
                                NICOLE FORD
                               NICOLE HANSEL
                          NICOLE K ASHENBERNER
                               NICOLE KEELER
                              NICOLE L CLOVER
                             NICOLE L MAXWELL
                             NICOLE M CALIA IV
                          NICOLE M DE JARNETTE
                             NICOLE M NEGRIN
                            NICOLE R FREEWALT
                               NICOLE R JONES
                             NICOLE R TRAXLER
                              NICOLE T DREON
                          NICOLE VAN VINAVONG
                                NIKI B TUCKER
                               NIKITA L VIERA
                               NIKITA L VIERA
                               NIKKI A LADNER
                                NIKKI PIERCE
                              NIKYA M HUGHES
                              NINA A CABRERA
                              NINA A CABRERA
                                 NINA S FELL
                               NITA M SNYDER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 82 of 112 PageID #: 389


                              NOEL H CRESPO
                             NOEL S GONZALES
                               NORA L HAGER
                          NORMA A MCEACHERN
                              NORMA F FRIAS
                              NORMA F POOLE
                            NORMA I MCQUEEN
                              NORMA J SALLIS
                          NORMAN J NAZAROFF
                              NYDIA M RIVERA
                            NYENYA D WEBSTER
                            OCEANUS PERRY JR
                            ODESSA B ROBBINS
                             ODETTE A DURAN
                              ODIS W WHITLEY
                                OGBO KANU
                             OKESHA K JACOBS
                              OLGA S RUSSELL
                              OLIVE WOOTON
                            OLIVER L PETTRY III
                              OLIVIA GARNER
                              OLIVIA GARNER
                            OMAR G MCINTYRE
                            OSCAR D CAMARGO
                           OSCAR W WILSON III
                            OSITA G JUMAWAN
                               OSMAN K BAH
                            OSVALDO E PRADO
                                OTIS T PUSEY
                                OVID F COBB
                               PAIGE L HAGA
                            PAMELA A BROWN
                             PAMELA A CLARK
                             PAMELA A CROFT
                             PAMELA A GEIGER
                             PAMELA A GEIGER
                             PAMELA A JONES
                         PAMELA A RZODKIEWICZ
                          PAMELA A THOMPSON
                              PAMELA BETHEA
                           PAMELA C ARSENAUX
                             PAMELA C CLARK
                            PAMELA D CUPELLI
                          PAMELA J ALEXANDER
                             PAMELA J ALLOCO
                           PAMELA J BRONSON
                              PAMELA J NAVE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 83 of 112 PageID #: 390


                            PAMELA K BURBIE
                              PAMELA L KENT
                             PAMELA L LYERLA
                           PAMELA M SEWELL
                               PAMELA S ELIA
                         PAMELA S HARTSBURG
                                PARISE KING
                                 PAT CRAIG
                             PAT F DANNIBALE
                                PAT WOODS
                              PATRIC C NEESE
                          PATRICE KUYKINDOLL
                              PATRICE M KING
                           PATRICIA A CUSELLA
                           PATRICIA A HENGES
                         PATRICIA A KARALUNAS
                            PATRICIA A PERRY
                          PATRICIA C NEUKIRCH
                             PATRICIA E WARD
                          PATRICIA J ROGASKIE
                              PATRICIA ROWE
                              PATRICIA WHITE
                           PATRICK A MORENO
                           PATRICK A VINCENT
                             PATRICK J ONEILL
                         PATRICK M FLANAGAN
                          PATRICK M RORMAN
                            PATRICK VALASTEK
                            PATRICK VALASTEK
                          PATRICK W GREGORY
                             PATRICK W JOYCE
                          PATSY M SINGLETON
                                 PATTI BETH
                               PATTI VAUGHN
                            PATTY M MOUTON
                          PAUL A CIGARRUISTA
                           PAUL A HORGASH JR
                             PAUL A MCCLURE
                                PAUL D CARR
                           PAUL D THOMPSON
                                PAUL E IRISH
                             PAUL E JOHNSON
                              PAUL E SHIMELL
                            PAUL F BALLMANN
                           PAUL J HORLACHER
                               PAUL L FISHER
                               PAUL L FISHER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 84 of 112 PageID #: 391


                               PAUL M KREBS
                               PAUL RAPTOU
                             PAUL W BROWN
                         PAULA FIRSTENBERGER
                            PAULA G FROLLINI
                             PAULA J BARRON
                             PAULA J HULING
                             PAULA J MURPHY
                              PAULA J WARD
                             PAULA L BOWEN
                             PAULA M BATTYE
                            PAULA M BROWN
                          PAULA R LITTLEFIELD
                           PAULA S GOODWIN
                               PAULA S KING
                           PAULETTE MCGUIRE
                           PAULETTE S FOLGER
                          PAULINE N ROBINSON
                            PEARLINE C LOUIS
                            PEDRAM LASHANI
                           PEDRO HERNANDEZ
                            PEGGIE A BITTNER
                                PEGGY ABLES
                                PEGGY ABLES
                            PENNY J MAGNESS
                               PETER A DIPOL
                               PETER B GRAY
                             PETER C PARKER
                         PETER CHRIS V OKPALA
                              PETER LEVENTIS
                                PETER LOBAS
                         PETER M PORCIUNCULA
                            PETER N DECONZO
                              PETER S SHITTA
                            PETRA R WATSON
                         PETRINA L THOMPSON
                           PHANEZE BENJAMIN
                         PHEDELINE F NICHOLAS
                            PHILIP A SMITH JR
                           PHILIP D CARBAUGH
                               PHILIP D FEYO
                           PHILIP D HESSELING
                               PHILIP E YATES
                             PHILIP G MOSER
                            PHILIP J HARRISON
                            PHILIP K EINSPAHR
                             PHILLIP A GREEN
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 85 of 112 PageID #: 392


                         PHILLIP A RIEGELMEIER
                         PHILLIP A RIEGELMEIER
                           PHILLIP B WAGONER
                          PHILLIP C MORRISON
                         PHILLIP M ARMSTRONG
                         PHILLIP W QUINLAN JR
                             PHYLLIS E HARRIS
                             PHYLLIS J GLOVER
                              PIERS L CURRY II
                              PORCHIA A PELT
                            PRECIOUS WRIGHT
                            PRESTON T TRACY
                           PRINCESS A BROWN
                           PRISCILLA A POWELL
                           PRISCILLA GONZALEZ
                          PRISCILLA P RINEHART
                           PRISCILLA SCHILLING
                           PRUDENCE A BATES
                            QABOOL ALHABEIL
                           QUANTAE L MORRIS
                            QUENTIN MCCALL
                             QUINCY E ATKINS
                       QUINNIECE P HUNTER BURNS
                          RACHAEL L HARLAND
                             RACHEL A BAKER
                             RACHEL E BAILEY
                              RACHEL E JONES
                            RACHEL G MOTLEY
                             RACHEL J NELSON
                         RACHEL J WROBLEWSKI
                            RACHEL K PARKER
                              RACHEL L JONES
                          RACHEL M GOLDSTEIN
                            RACHEL M KALEEL
                           RACHELLE R HARDER
                            RACQUEL P FULLER
                                 RAE DISCO
                               RAFAEL SOTO
                               RAFAEL T RUIZ
                               RAINA J SANDS
                              RAINA N MILLER
                              RAINA N MILLER
                             RALPH A RIOLS JR
                              RALPH A ZRUST
                              RALPH C FEW JR
                               RALPH E PITTS
                             RALPH E WEAVER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 86 of 112 PageID #: 393


                         RALPH G FAIRCLOTH JR
                               RALPH HEARD
                            RALSTON G DAVIS
                              RAND J COOLEY
                              RANDAL STUDY
                         RANDAL W SMITHSON
                           RANDALL E DAVERSA
                        RANDALL K BLANKENSHIP
                             RANDALL RITTER
                            RANDALL S JACOBS
                           RANDEL S DOMMER
                            RANDY A CHAFFIN
                            RANDY A YARNELL
                          RANDY D BOETTCHER
                            RANDY K MAYHEW
                           RANDY L MEADOWS
                              RANDY L OLSON
                               RANDY S YORK
                            RANDY W MEYERS
                             RAQUEL J WILLEY
                          RASHAN R ANDERSON
                              RAY A GILMORE
                              RAY HAYWOOD
                          RAYMOND A BITANGA
                           RAYMOND B DANKS
                         RAYMOND E HICKMAN
                             RAYMOND E KIRA
                           RAYMOND J SHARPE
                           RAYMOND T DEBITA
                        RAYMOND T HAMMOND
                             REAGAN E ORME
                            REBECCA A ANSELL
                           REBECCA A RAYMER
                           REBECCA A RUSSOM
                            REBECCA ACEVEDO
                            REBECCA B OLSON
                        REBECCA BRECKENFELDER
                           REBECCA FIGUEROA
                              REBECCA HTUT
                            REBECCA J ADAMS
                          REBECCA J THORESON
                            REBECCA L BROWN
                           REBECCA L BUSCEMI
                           REBECCA L BUSCEMI
                           REBECCA L CHARRIE
                            REBECCA L OAKLEY
                          REBECCA L WILLIAMS
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 87 of 112 PageID #: 394


                            REBECCA M HOSEY
                            REBECCA S NISTLER
                           REBECCA SEDGWICK
                           REBECCA V JOHNSON
                          REBECCA W SHUMATE
                             REBEKAH L BLAKE
                             REED B CAMPBELL
                              REED P WINDELS
                             REEHAM YOUSSEF
                           REGINA A LITTLETON
                             REGINA A MILLER
                             REGINA M HARRIS
                        REGINALD M VARNADORE
                           RELONDA N OWENS
                       RENADA A WILLIAMS FISHER
                             RENE P POSADAS
                             RENE R CARRILLO
                               RENEE D PRICE
                              RENEE L COMBS
                              RENEE POWERS
                           RENEE S SPADAFORA
                            RENELLE F ROMINE
                         RENGASWAMY ASOKAN
                            RENZO R MARTINEZ
                      RETHINASAMY GOVINDARAJAN
                               REWAIDA HALL
                                REX A NEVINS
                                REX B KINDER
                                REYNA WELLS
                          RHEANON L ROMERO
                            RHONDA E BUTLER
                            RHONDA J PHILLIPS
                            RHONDA J PRATER
                           RHONDA K STEWART
                           RHONDA K STEWART
                            RHONDA KIRKMAN
                           RHONDA L CLYBURN
                            RHONDA L TOWNS
                             RHONDA L WOOD
                        RHONDA R SOUTHWORTH
                       RHONDA S JACKSON-FEAGIN
                             RHONDA S LUCAS
                               RIANA S FUNK
                           RICARDO E GUEVARA
                           RICHARD A DILLARD
                         RICHARD A SUMMERS JR
                          RICHARD A WAMPLER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 88 of 112 PageID #: 395


                             RICHARD C GAINES
                              RICHARD D ELLEY
                             RICHARD D PUGH
                         RICHARD D SESTERHENN
                            RICHARD D WILSON
                            RICHARD DEAGUILA
                          RICHARD E POLITOWICZ
                            RICHARD E PRUSAK
                         RICHARD G CLINGERMAN
                              RICHARD HILL JR
                           RICHARD J HAMILTON
                           RICHARD J HAMILTON
                             RICHARD K KALAL
                            RICHARD L DURHAM
                           RICHARD L MULLINER
                            RICHARD L RALSTON
                             RICHARD P JONES
                           RICHARD R CERENZIA
                               RICHARD R HILL
                              RICHARD R KORN
                              RICHARD S JONES
                             RICHARD SAKOSKY
                            RICHARD T MCPHEE
                               RICHARD TYNER
                         RICHARDSON,NATALIE N
                            RICHIE E WILDER SR
                            RICHIE E WILDER SR
                              RICK L STOWERS
                              RICKEY L TWEED
                             RICKEY M CARTER
                               RICKKAY L KING
                               RICKY G RIOPTA
                             RICKY HUMPHREY
                                RITA COLBERT
                                RITA F BEHNE
                               ROB B MELLEN
                             ROB MCDERMOTT
                             ROBBIE G KNIGHT
                              ROBBIE L SPENCE
                            ROBBIE S LAGRONE
                               ROBBIN S CRISP
                            ROBERT A CARRUTH
                           ROBERT A CHAMPINE
                              ROBERT A DUNN
                           ROBERT A GALLEGOS
                            ROBERT A HUBBARD
                             ROBERT A RICE JR
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 89 of 112 PageID #: 396


                            ROBERT B GROVE
                             ROBERT B KALAF
                         ROBERT B WATKINS JR
                          ROBERT B WEAVER JR
                          ROBERT B WEAVER JR
                               ROBERT BOST
                          ROBERT C BENAVIDES
                            ROBERT C CUPELLI
                            ROBERT CANTU JR
                          ROBERT CHENOWITH
                            ROBERT D SHIPLEY
                             ROBERT D STACY
                             ROBERT E BERRY
                            ROBERT E BROWN
                            ROBERT E FOWLER
                            ROBERT E GRIFFIS
                          ROBERT E THEOBALD
                         ROBERT F HERNANDEZ
                          ROBERT G BROOKING
                            ROBERT G BROWN
                           ROBERT H MERRICK
                           ROBERT J ARMENTA
                             ROBERT J DEFINE
                            ROBERT J DINELLA
                         ROBERT J HANSFORD III
                            ROBERT J LUCERO
                           ROBERT J SELDERS II
                           ROBERT KALENIECKI
                              ROBERT L CASH
                            ROBERT L STATON
                             ROBERT L WILLIS
                            ROBERT L WRIGHT
                          ROBERT M GAMMILL
                         ROBERT M GRIMMETT
                            ROBERT M HICKEY
                             ROBERT M TESKA
                          ROBERT MIGLORINO
                          ROBERT MIGLORINO
                            ROBERT N RUIZ JR
                            ROBERT R CURTIS
                           ROBERT S BURTON
                             ROBERT S KNAPP
                             ROBERT T BOBAR
                             ROBERT T VANCE
                            ROBERT W CURTIS
                            ROBERT W HARDY
                          ROBERT W HUBBARD
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 90 of 112 PageID #: 397


                             ROBERT W JONES
                           ROBERT W SIRMANS
                          ROBERT W ZIONCHECK
                              ROBERT WELLS
                            ROBERTA R COBBS
                            ROBERTO OROZCO
                                ROBIN E HILL
                             ROBIN E WALKER
                          ROBYN E MCPHERSON
                            ROBYN L MCCARRY
                         ROBYN M AMMERMAN
                         ROCHELLE M WILLIAMS
                              ROCHELLE SERF
                            ROCKE A WHITNEY
                             ROCKY A RIOPTA
                            ROCKY G WATKINS
                              ROD ASLANIAN
                           RODELLA D MURRIEL
                           RODERICK M SMITH
                            RODNEY A ALLOTT
                           RODNEY A GRILLIER
                           RODNEY A GRILLIER
                            RODNEY FLOWERS
                          RODNEY M WILLIAMS
                            ROELENE A KELLEY
                         ROGDRIC D SINGLETON
                             ROGER A WOLFE
                            ROGER D BRAILER
                            ROGER D PERRINE
                              ROGER D SMITH
                           ROGER D WILLIAMS
                         ROGER L HERSHBERGER
                              ROGER L PAYNE
                            ROGER W REEDER
                               ROHAN D REID
                             ROLANDO ANAYA
                         ROLETTE M GRANDISON
                         ROMAIN M CHAMPION
                            ROMAINE N BOYD
                           ROMAN N SOHOR JR
                           RON D SONEDECKER
                           RONALD A BRAMER
                         RONALD C HALIBURTON
                         RONALD D ALEXANDER
                          RONALD D HOLTON JR
                           RONALD D VOSHELL
                             RONALD E SMITH
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 91 of 112 PageID #: 398


                            RONALD GUERRA
                         RONALD J CARROLL III
                           RONALD L POWELL
                           RONALD R BENSON
                         RONALD W TALERONIK
                              RONDA T GILL
                       RONNETTE M MISENHEIMER
                            RONNIE E TAYLOR
                            RONNIE E TAYLOR
                             RONNIE H HICKS
                             RONNIE H HICKS
                          RONNIE L GARRISON
                         ROSA B LANGENSTEIN
                               ROSA K RAY
                          ROSALIA NICHOLSON
                          ROSALIND L GROVER
                             ROSALYN DIXON
                          ROSANN M LERCZAK
                          ROSANN M LERCZAK
                           ROSE M PETERSON
                           ROSELLA G HUNTER
                          ROSEMARIE B FISHER
                          ROSEMARIE MOORE
                           ROSEMARY E HOYE
                          ROSEMARY HARLESS
                           ROSEMARY JENKINS
                           ROSEMARY MORAN
                              ROSIA RAWLES
                           ROSIE R WOODARD
                                ROSIE SERF
                         ROSITA C MCTAGGART
                          ROXANNE M WILSON
                            ROXANNE P ROSS
                          ROXANNE S HAYNES
                             ROXIE A BROWN
                              ROXIE A KEESE
                              ROXIE T LEWIS
                           ROY J KUNSMAN JR
                              RUBY C STEED
                            RUBY M MOWRY
                              RUBY V BOND
                         RUDOLPH V AMPEY JR
                               RUDY BARBA
                          RUSSELL D WOUTERS
                             RUSSELL J KING
                          RUSSELL L CARLTON
                          RUSSELL L CARLTON
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 92 of 112 PageID #: 399


                              RUSSELL L GRIGGS
                                RUSSELL SMITH
                            RUSSHELL J RUBRICO
                               RUTH A DARWIN
                               RUTH A DARWIN
                                RUTH CONNER
                                RUTH E WALLIS
                               RUTH H BROWN
                             RUTHIE M BECTON
                              RYAN A BURGESS
                                  RYAN A FAIL
                              RYAN A HOWETH
                                RYAN A MILNE
                               RYAN A VOSHELL
                              RYAN B GARDNER
                              RYAN C WATSON
                            RYAN J WEATHERBY
                               RYAN J ZIELINSKI
                              RYAN L ANDREWS
                            RYAN M FERGUSON
                                RYAN M LUND
                            RYAN M SMARETSKY
                                 RYAN P LESLIE
                               RYAN P MCCABE
                             RYAN R COLOSIMO
                              RYAN W KURPIEL
                              S ALLAIRE MASSE
                             SABRINA A NELSON
                               SAFARAH WHITE
                               SAFARAH WHITE
                             SALVADOR GOMEZ
                              SAM BOUNMYSAI
                            SAMAD H SAIFUDIN
                          SAMANTHA A FOLMER
                          SAMANTHA A FOLMER
                             SAMANTHA A TINO
                            SAMANTHA BECKER
                         SAMANTHA E GARRISON
                           SAMANTHA F LUCERO
                          SAMANTHA M BILINSKI
                          SAMANTHA M SWEDIN
                              SAMARA N SOBH
                          SAMIYYAH R ROBERTS
                          SAMIYYAH R ROBERTS
                               SAMONE SIMON
                          SAMUEL B WATKINS III
                             SAMUEL C FOSTER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 93 of 112 PageID #: 400


                           SAMUEL G KOLKMAN
                             SAMUEL H CRYDER
                            SAMUEL J CHAPMAN
                               SAMUEL J SARVIS
                               SAMUEL J SARVIS
                             SAMUEL J SARVIS III
                             SAMUEL K COLLINS
                              SAMUEL P KUPFER
                              SAMUEL P KUPFER
                             SANDI M KEARNEY
                                SANDRA A HILL
                                SANDRA A HILL
                           SANDRA E GOLDFIELD
                           SANDRA E GOLDFIELD
                               SANDRA F NEEDY
                           SANDRA J BENKOVICH
                               SANDRA K BENCE
                         SANDRA K WHITTINGTON
                           SANDRA L BAUMANN
                             SANDRA L HIGGINS
                        SANDRA L O'SHAUGHNESSY
                             SANDRA L ROBERTS
                           SANDRA L ROBINSON
                              SANDRA L STORER
                              SANDRA M CLARK
                          SANDRA M CONTRERAS
                          SANDRA M FRANCETICH
                               SANDRA S RAINS
                               SANDRA Y TABAR
                             SANDY C HOWARD
                               SANDY C POPETZ
                                  SANDY KIM
                              SANTANA L CREEL
                             SANTIAGO G SILVA
                           SANTOS G CARRANZA
                             SANTRELLA S HERD
                             SANTRELLA S HERD
                                SARA A SEELEY
                                 SARA B KALIS
                               SARA B SAMUELS
                                 SARA E BLAKE
                                SARA J ELLERD
                                SARA J ELLERD
                                SARA L DOOLIN
                             SARA L GWALTNEY
                               SARA L HUDSON
                                SARA M DALLY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 94 of 112 PageID #: 401


                                SARA M SLACK
                                SARA M WAFA
                                  SARA PEREZ
                                SARAH A CARY
                                 SARAH C POE
                             SARAH C WRASSE
                          SARAH D LONGWORTH
                            SARAH D STANTON
                            SARAH D STANTON
                             SARAH E HOMOLA
                               SARAH E JAMES
                              SARAH E RAINEY
                              SARAH J GATTON
                             SARAH J SUMNER
                            SARAH K COLEMAN
                               SARAH K EVANS
                            SARAH KOMBEREC
                             SARAH L KELSVEN
                             SARAH M BRAGGS
                              SARAH M CLARK
                             SARAH M MORAS
                               SARAH N TINER
                            SARALENA S REYES
                          SARALYN J THOMPSON
                                SARI A MYERS
                            SASHA K FOREMAN
                             SASHA M GUERRA
                          SAVINO A PALOMAREZ
                              SCHERI A YOUNG
                                 SCOT A MUIR
                                SCOTT A BUER
                              SCOTT A CRIDER
                            SCOTT A FINSTROM
                                SCOTT A KLUG
                               SCOTT A REAM
                               SCOTT A SMITH
                            SCOTT C MAXFIELD
                            SCOTT D LEMMON
                           SCOTT D OBERACKER
                           SCOTT D RODEWALD
                                SCOTT E BOOE
                              SCOTT E MORRIS
                             SCOTT E ROBESON
                           SCOTT J KELNHOFER
                           SCOTT M SHANFELD
                              SCOTT P BECKER
                              SCOTT R STEINER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 95 of 112 PageID #: 402


                              SCOTT R STEINER
                             SCOTT W NESLEN
                            SEAN A HAMILTON
                          SEAN B BANI YISRAEL
                               SEAN C PERRY
                              SEAN J HOLLAND
                               SEAN M JAMES
                                SEAN S REED
                                SEAN W LEE
                          SELENA C KIRKWOOD
                             SELENE G PUGLISI
                             SELMA L RENDON
                                 SEM CHEA
                            SERGIO J CURBELO
                            SHAEDRA K COUCH
                               SHAIK RAYHAN
                               SHAIK RAYHAN
                             SHAKYAH A TERRY
                           SHALANDRIA WHITE
                          SHAMEANA Y HOSKEY
                              SHANA D SCOTT
                               SHANA L REED
                               SHANE J HOKE
                              SHANE T ALSTON
                         SHANIE F WILLIAMSON
                            SHANNON C FALLS
                           SHANNON C SNYDER
                            SHANNON CONLEY
                            SHANNON D SMITH
                            SHANNON HODNIK
                            SHANNON J DICKEY
                          SHANNON K GARRETT
                           SHANNON L BECKER
                       SHANNON L COONE-SPEARS
                       SHANNON L COONE-SPEARS
                       SHANNON M BRECKENRIDGE
                         SHANNON M STANTON
                           SHANNON R LANDA
                           SHANNON SCHULTE
                         SHANNON V COCILOVA
                              SHANNON YANG
                           SHANON L STEDNITZ
                            SHAREE A BROOKS
                            SHARI A ALBANESE
                             SHARITA R HARRIS
                           SHARLA D BECKNER
                          SHARLA G AUGUSTUS
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 96 of 112 PageID #: 403


                           SHARMAINE D GROVE
                           SHARON A CROCKETT
                           SHARON A CROCKETT
                              SHARON D JONES
                             SHARON E HOLLEY
                            SHARON E SCHRAGE
                             SHARON E SHAJEE
                             SHARON E SHAJEE
                            SHARON K BLANTON
                               SHARON K LAND
                               SHARON L CANN
                               SHARON L SAXE
                            SHARON M ARNOLD
                             SHARON M DAIDS
                           SHARON M EDWARDS
                              SHARON R LEWIS
                             SHARON S MAHON
                               SHARON T NEILS
                         SHARONAKA L RANSOM
                        SHARONE A WOOLRIDGE
                        SHARYL CALAMIA-MCKEE
                             SHASTA B DEWITT
                                SHATA BURKE
                       SHAULANA M WASHINGTON
                             SHAUNA L SNYDER
                              SHAUNE E GROSS
                          SHAUNNESE D JAUDON
                               SHAWN C ODELL
                               SHAWN J OFALT
                               SHAWN K ONYE
                             SHAWN M BROAD
                            SHAWN M TORBETT
                            SHAWN N RAGLAND
                          SHAWN VANNORTRICK
                            SHAWN W CROCKER
                         SHAWN W MCLAUGHLIN
                           SHAWNA M MIKESELL
                           SHAWNA M MIKESELL
                        SHAWTAKA L WILKERSON
                            SHAYLEE A JOHNSON
                                SHEENA ROSE
                           SHEERETA N SANDERS
                          SHEILA D ARMSTRONG
                             SHEILA M WALLER
                              SHEILA R DARDEN
                              SHEILA V RUSSON
                             SHELBY J SMALLEY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 97 of 112 PageID #: 404


                              SHELBY J TAYLOR
                              SHELBY P BRASE
                           SHELDON J BOURNE
                            SHELDON MCLEAN
                              SHELIA D ROLLIN
                            SHELLEY A VOELKEL
                           SHELLEY B SWISHER
                           SHELLEY M PAULISIN
                            SHELLI C HOLLAND
                            SHELLIE L BARNETT
                             SHELLY A KITCHEN
                         SHELLY A MCCORMICK
                             SHELLY D MOWRY
                              SHELLY L CREWS
                              SHELLY MARVEL
                              SHELLY R SMITH
                                 SHENG VANG
                            SHENIKA K YOUNG
                            SHENITA A COOPER
                         SHENITA D EASTERLING
                           SHENNEACE A LYTLE
                          SHEREE L ANDERSON
                              SHEREEA F SEALS
                          SHERI D HOLDERFIELD
                                SHERI J MEYER
                              SHERI L BLEDSOE
                               SHERIE L ARIAS
                         SHERILYN K HOLLEMAN
                              SHERITA F JOLLY
                             SHERRE D BOYKIN
                              SHERRI A FLUDD
                             SHERRI D BROWN
                              SHERRI JANWAY
                              SHERRI L HARRIS
                               SHERRI L PAULI
                               SHERRI N DAVIS
                             SHERRY A BOWEN
                             SHERRY A BOWEN
                               SHERRY A COBB
                            SHERRY A JACKSON
                            SHERRY ANDERSON
                            SHERRY ANDERSON
                             SHERRY D MOORE
                               SHERRY L HICKS
                          SHERRY T TUBERVILLE
                          SHERRY T TUBERVILLE
                           SHERYL A MITCHELL
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 98 of 112 PageID #: 405


                                SHERYL A POOLE
                                SHERYL A POOLE
                                 SHERYL L KORN
                               SHIRLEY A GETER
                             SHIRLEY A INGRAM
                               SHIRLEY O MOTT
                               SHON M PHILLIPS
                            SHONDA M SUDDETH
                             SHUNTA L JACKSON
                             SHUWANDA T FORD
                              SHYRON V BRYANT
                          SIYOUNEH GERAGOSIAN
                           SKIPPER BALLINGHAM
                            SOLANCHY Y SANTOS
                            SONDRA L MASCHLER
                              SONIA G JENNINGS
                                 SONJA R YATES
                            SONNY J PATTERSON
                               SONYA L HOGANS
                              STACEY J ROBERTS
                              STACEY LEE HARSH
                           STACEY M ZAMBRANO
                              STACEY REYNOLDS
                               STACEY WOMBLE
                                STACI L STOVER
                         STACI N JOHNSTON LONG
                             STACIE L BRADFORD
                                STACIE L CRIDER
                                 STACY A BAKER
                              STACY A HUGGINS
                                   STACY JABRI
                                  STACY L HALE
                                STACY M HOLLIS
                                 STACY R ALAUF
                                 STACY R KLOTH
                                    STACY Y LY
                                  STACYE HALL
                             STANLEY R LARSON
                           STARETHA L WILLIAMS
                              STEFANIE A HEATH
                           STELLA M CLEVELAND
                           STELLA M CLEVELAND
                              STEPHANIE A KING
                              STEPHANIE A KIRK
                          STEPHANIE A WEDDELL
                            STEPHANIE ADAMOV
                           STEPHANIE E HACKNEY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 99 of 112 PageID #: 406


                          STEPHANIE E HACKNEY
                         STEPHANIE HUMPHREYS
                          STEPHANIE L BEAVERS
                             STEPHANIE L COBB
                           STEPHANIE L COLLINS
                           STEPHANIE L COTTON
                            STEPHANIE L CRAIG
                             STEPHANIE L HISER
                           STEPHANIE L KOVACH
                          STEPHANIE L MINNICH
                          STEPHANIE M POWERS
                          STEPHANIE M SCHARR
                         STEPHANIE N SOLOMON
                        STEPHANIE N WOODRUFF
                           STEPHANIE R MCVAY
                        STEPHANIE R NICHOLSON
                              STEPHANIE REED
                         STEPHANIE S WESTLING
                           STEPHEN A JOHNSON
                             STEPHEN BROBBEY
                            STEPHEN C GOWDY
                            STEPHEN E THOMAS
                            STEPHEN E VACHON
                            STEPHEN E VACHON
                                STEPHEN GILL
                                STEPHEN GILL
                              STEPHEN J WEISS
                             STEPHEN L FARLEY
                         STEPHEN L HAMBURGER
                            STEPHEN LAMBETH
                           STEPHEN W RUSSELL
                             STERLON R WHITE
                              STEVE J MARKLEY
                              STEVE R GORDON
                              STEVE ROBINSON
                             STEVE T ARELLANO
                               STEVEN A KIRBY
                             STEVEN A LA VOISE
                          STEVEN A MIDDLETON
                          STEVEN A WISNIEWSKI
                             STEVEN B PEPPERS
                            STEVEN B SHROYER
                             STEVEN B WARNER
                            STEVEN C GRAHAM
                            STEVEN C SAVITSKY
                             STEVEN FRACTION
                            STEVEN G CHITTUM
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 100 of 112 PageID #: 407


                              STEVEN J ARWADY
                               STEVEN K JENSEN
                              STEVEN K NELSON
                                STEVEN K SAGE
                                STEVEN L DUNN
                         STEVEN M CUNNINGHAM
                             STEVEN M POTTER
                            STEVEN M SCHARDT
                              STEVEN O MARTIN
                              STEVEN W CABELL
                              STEVEN W EVANS
                              STEVEN W HARRIS
                         STEWARD M SZCZEPANSKI
                          STONEY B BRACAMONTE
                            STUART ALEXANDER
                             STUART SHANFELD
                                SUE ELLEN BAEZ
                         SUELLEN M MCWHORTER
                             SUNIOR S SALAZAR
                             SUNNI K MCGOWIN
                                  SUNNIE BIRD
                              SUNSHINE A CAHL
                              SUNSHINE A CAHL
                             SUREDA JEFFERSON
                               SUSAN A KRAUSE
                                SUSAN B HANBY
                            SUSAN C DEMBINSKI
                              SUSAN C PHILLIPS
                                SUSAN D KRAFT
                                 SUSAN E CASH
                                SUSAN E JESSEE
                               SUSAN E LADOUX
                            SUSAN E MEADOWS
                            SUSAN E NUSTVOLD
                                 SUSAN GRIFFIS
                                SUSAN KODUAH
                            SUSAN L ALEXANDER
                                SUSAN L BRIGGS
                              SUSAN L DEVAULT
                                SUSAN L MANES
                           SUSAN L MCCORMACK
                                SUSAN L SOLEM
                                 SUSAN LUSTIG
                            SUSAN M BRONSON
                          SUSAN M KACZOROWSKI
                                 SUSAN R MILLS
                                SUSAN R PERRY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 101 of 112 PageID #: 408


                            SUSAN S ANDERSON
                               SUSAN S OLIVER
                               SUSAN SCHMITZ
                             SUSANN A BECRAFT
                             SUSANN A BECRAFT
                             SUSANNA VALLEJO
                             SUSETTE R WIENKE
                              SUSIE D HELMUTH
                               SUSIE V BUTTER
                             SUZANNE C WATTS
                             SUZANNE K SCAREY
                              SUZANNE L PHAM
                            SUZANNE M GORUM
                            SUZANNE M KOVACH
                          SUZANNE M NARDUZZI
                            SUZANNE R OBRYCKI
                               SUZETTE D BELL
                                SUZY L JUAREZ
                         SYLVIA B CARRCHANDLER
                               SYRETTA K CARR
                              TABATHA J SCOTT
                               TABATHA SCOTT
                             TABITHA J CHURCH
                              TABITHA L BUTLER
                              TABITHA M MILES
                             TABITHA R FRANCIS
                                TADD J DAVIS
                             TAIJA M COLEMAN
                             TAIJA M COLEMAN
                           TAJUANA M BOTHUEL
                              TAKEELA M SMITH
                         TAKOUHI Y THOMASSIAN
                             TALIKIA M KITCHEN
                              TAMARA B WARD
                           TAMARA J BARNHART
                              TAMARA L BREAZ
                             TA-MARA L HORSEY
                           TAMARA L PRITCHARD
                           TAMARA L PRITCHARD
                               TAMARA L WILM
                              TAMARA L WYATT
                             TAMEIKA S HARRIS
                              TAMELA J BROWN
                          TAMELA V SPRINGFIELD
                                 TAMI A LEVA
                                TAMI E JONES
                             TAMIKA N JACKSON
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 102 of 112 PageID #: 409


                             TAMIKA S SIMMONS
                               TAMMI G COFFEY
                              TAMMY B DINGEE
                         TAMMY COLLIER-MEDLEY
                            TAMMY D HOUSTON
                            TAMMY K CHAMBERS
                             TAMMY L MICALLEF
                                TAMMY OLIVER
                              TAMMY S WILSON
                             TAMMY Y SIMPSON
                                TAMPLA A SHUE
                                TAMRA B ECKEL
                                 TAMRA L CITTY
                              TANAYA M GREEN
                            TANESHA N HUGHES
                               TANGELA D RONE
                              TANGELA Y CLIETT
                                  TANIA E YSER
                              TANISHA HENSON
                            TANISHA M MCNEAL
                                TANISHA S BOLT
                            TANNICA S GILCHRIST
                           TANYA A WILLIAMSON
                                TANYA J WILLIS
                                TANYA L KUNZE
                               TANYA L THEISEN
                           TANYA N MACATTRAM
                              TANYA R NEUSTICE
                                TANYA S SCOTT
                             TAQUINTA J MUNN
                               TARA D GODARD
                               TARA J HICKMAN
                                  TARA L JONES
                                  TARA L SHEA
                                 TARA L WALSH
                                 TARA R SMITH
                            TARAH L GROETTUM
                                 TARAUS D KEY
                            TARRAH L LOPREIATO
                               TASHA L BROWN
                               TASHA N BUTLER
                          TASHAHNDA J BALDREE
                            TASHANA N THOMAS
                            TASHANA N THOMAS
                             TASHEA M HOLMES
                          TASHEANA M DANTZLER
                                TASHEL A MYRIE
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 103 of 112 PageID #: 410


                              TASHIA A MICKIE
                                TASIA A SUETT
                           TATALIAN A HUDSON
                            TATIANA DANGELO
                          TAWANNA L JOHNSON
                              TAWANNA M LEE
                             TAWNY N NELSON
                           TECORIA M MORROW
                                TED PEARSON
                                TED T TAYLOR
                                 TEELA L PAPP
                            TELA R MOLLOHAN
                           TELAINA N MINNICUS
                          TELINA N PORTERFIELD
                               TENAYA E HONE
                            TENESHA N COOPER
                            TENIESHIA D SCALES
                            TENIESHIA D SCALES
                             TEODORA A CORB
                           TERENCE M DEMETER
                            TERESA A HARTUNG
                               TERESA A MIRA
                             TERESA A TAYLOR
                             TERESA D FARRIER
                               TERESA I SANDS
                             TERESA L MATHIS
                             TERESA M BROWN
                          TERESA M HAMBERLIN
                            TERESA M WORLEY
                              TERESA R LARIOS
                              TERESA R SUGGS
                             TERESA S BROWN
                                TERESA S KING
                                TERESA WHITE
                                TERESSA RICE
                                TERRA L WEBB
                           TERRANCE W LINDLEY
                                  TERRI BIRT
                              TERRI F MADDOX
                               TERRI F MOORE
                           TERRIE L BUNDSCHUH
                          TERRIE Y BRACAMONTE
                             TERRIEL L BOTTER
                            TERRY A BRAMLETT
                                 TERRY J BIRD
                              TERRY L ABBOTT
                               TERRY L SPIVEY
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 104 of 112 PageID #: 411


                             TERRY T OWEN JR
                            TERRY W WILLIS JR
                             TESS M BAGWELL
                               THAD A WHITE
                            THELMA A TUCKER
                            THEODORE A ODEH
                         THEODORE M BENNETT
                            THEODORE P LOPEZ
                            THERESA A BODDIE
                            THERESA A BODDIE
                             THERESA A RITTER
                            THERESA F LEAVITT
                              THERESA I VAGG
                             THERESA J SHOUP
                            THERESA M AUSTIN
                          THERESA M CHARMLEY
                            THERESA M DEPUY
                              THERESA M ELLIS
                            THERESA M OBRIEN
                               THERESA SPETH
                               THERESA SPETH
                             THERESA WOODS
                           THOMAS A DENNING
                             THOMAS A TUREK
                              THOMAS AZAIAN
                              THOMAS C RIOS
                           THOMAS D PIZZO JR
                           THOMAS E CONLEY II
                             THOMAS E DERBY
                            THOMAS E KENYON
                         THOMAS E YARBROUGH
                         THOMAS E YARBROUGH
                              THOMAS GOITIA
                            THOMAS H ROGERS
                         THOMAS J BOLLINGER JR
                              THOMAS J JONES
                              THOMAS J LUND
                            THOMAS J PAGANO
                         THOMAS J RICHARDSON
                         THOMAS J WAGTOWICZ
                            THOMAS K PARKER
                             THOMAS L DODGE
                          THOMAS M TANCREDI
                            THOMAS R RAMSEY
                           THOMAS R RUMFELT
                             THOMAS T SPETH
                            THOMAS W DELZER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 105 of 112 PageID #: 412


                         THOMASENA R WILLIAMS
                               TIERRA L PETTUS
                               TIESHA S FARLEY
                             TIFFANY A FORSTER
                                TIFFANY A FRYE
                           TIFFANY A MCCREEDY
                             TIFFANY A MORRIS
                            TIFFANY A VOLKMAN
                            TIFFANY A VOLKMAN
                           TIFFANY A WALDMAN
                            TIFFANY B CAMPBELL
                              TIFFANY C GIBSON
                          TIFFANY E HAWTHORNE
                         TIFFANY F SCHARBROUGH
                               TIFFANY HIGGINS
                               TIFFANY J WATTS
                               TIFFANY KRABBE
                                TIFFANY LEIGH
                               TIFFANY O REILLY
                             TIFFANY R BROWN
                               TIFFANY T WHITE
                                TIFFINI R TERRY
                                  TIM YANTZ
                               TIMMY J FISCHER
                                TIMMY R AMEY
                                TIMMY R AMEY
                           TIMOTHY A CARRASCO
                           TIMOTHY A CHESTNEY
                               TIMOTHY A STITT
                              TIMOTHY B JOYCE
                           TIMOTHY C URBANIAK
                             TIMOTHY C WALES
                           TIMOTHY D BARTLETT
                            TIMOTHY D FORMAN
                               TIMOTHY D HALL
                              TIMOTHY D HINDS
                               TIMOTHY HARRIS
                              TIMOTHY J CLEMO
                               TIMOTHY J DAHL
                            TIMOTHY J FREBURG
                               TIMOTHY J HUST
                            TIMOTHY L MEROLA
                             TIMOTHY L PARRIES
                              TIMOTHY M NAVE
                         TIMOTHY M WEATHERLY
                            TIMOTHY O WALLER
                             TIMOTHY S LOMAX
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 106 of 112 PageID #: 413


                            TIMOTHY W BOYLES
                            TIMOTHY WOOTON
                              TINA A HAMPTON
                               TINA D LASSITER
                                TINA DOMMER
                               TINA KUNSMAN
                               TINA L CAVAZOS
                                 TINA L COKER
                                TINA L GREENE
                               TINA L SKRUNDZ
                               TINA L WALDEN
                               TINA M FISCHER
                             TINA M JACOBSEN
                                TINIECE P JAVIS
                          TIQUIANA M HAMPTON
                                TISHA A VASKA
                            TITUS O MCGOWAN
                                  TITUS WILL
                                 TJ J PROCTOR
                               TODD A ADKINS
                               TODD A KUIECK
                             TODD E BRINKMAN
                                TODD J MCKEE
                               TOKUNBO AYENI
                               TOM G HARDIN
                                TOM R ADAMS
                             TOMMI L AGUILAR
                            TOMMY J REYNOLDS
                           TOMMY J SCHOCHLER
                             TOMMY L WOODS
                              TONI M IANNONE
                                 TONI MOBLEY
                             TONIA L JOHNSON
                                  TONIA R LEE
                                  TONIA R LEE
                           TONIA R PALOMAREZ
                               TONY J ABAJIAN
                                 TONY SHELEY
                             TONYA L FLENORY
                              TONYA L MOORE
                                TONYA M PETO
                             TONYA M PRESLEY
                                TONYA QUILES
                               TONYA R GOAD
                            TOVA S HENDERSON
                                 TOYI M ERVIN
                            TRACE M CROWDER
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 107 of 112 PageID #: 414


                            TRACEY A GREELEY
                           TRACEY A STROZIER
                               TRACEY A TATE
                          TRACEY D ABERNATHY
                             TRACEY JACKSON
                               TRACI A LEWIS
                              TRACI L MILLARD
                                 TRACI PINTO
                               TRACIE L MOYA
                                TRACY A BERG
                           TRACY A ROTHSTEIN
                              TRACY B SEXTON
                              TRACY B SEXTON
                             TRACY D WALKER
                           TRACY L BEVERIDGE
                            TRACY L CAEKAERT
                                TRACY L FOSS
                             TRACY L ROBERTS
                           TRACY M LAMBERTH
                             TRACY P INGRAM
                            TRAVIS G RADFORD
                             TRAVIS K WILSON
                             TRAVIS L MORRILL
                              TRAVIS L SEAGLE
                           TRAVIS MCCRACKEN
                              TRAVYS BROWN
                              TREAO M LEACH
                           TRECOLE L CAULTON
                            TRENICE WILLIAMS
                             TREVOR HENSLEY
                                TRICIA F RUIZ
                               TRICIA L DAILEY
                            TRINECA M HUGER
                             TRINICE D HARRIS
                            TRISH N WILLIAMS
                             TRISTA A GILBERT
                             TRISTA A GILBERT
                             TRISTA MESSERLI
                            TRISTANO KORLOU
                           TRONDA D GRAHAM
                             TROY A JOHNSON
                           TRUCENIA C BROWN
                                 TRUNG T VO
                           TSHA L WOOD-TOSE
                             TUAN Q NGUYEN
                           TUMBIA H ASHMON
                               TUNDE IDOWU
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 108 of 112 PageID #: 415


                            TURKESA N BULLOCK
                           TUSHIMA I CAMPBELL
                             TYEENA S LASSITER
                               TYICCA Q WHITE
                               TYLANDA JONES
                                TYLER J PATIN
                              TYLER R CROWLEY
                              TYLER SCHAEFFER
                              TYLER SCHAEFFER
                              TYLER W CURLESS
                              TYNEIL L WILSON
                             TYRONE C BYFIELD
                               TYSON D CHAPA
                               TYSON W GAGE
                              UADE O DA SILVA
                                 UWE DOOSE
                                VAL L CARTER
                            VALDEMAR R MILLER
                              VALENCIA M KING
                            VALENTINA L AKYOL
                             VALERIE A MOORE
                             VALERIE J WALKER
                                VALERIE JONES
                             VALERIE L RUCKER
                           VALERIE M DONELSON
                             VALERIE M OLSON
                             VALERIE N GUERRA
                               VALERIE VARGAS
                                VALLY BASTIEN
                              VANDER L MINGO
                               VANESSA CHICO
                              VANESSA CORTEZ
                              VANESSA CORTEZ
                           VANESSA L WERNETTE
                            VANESSA R BOGGAN
                            VANESSA R BOGGAN
                             VARDAMAN SMITH
                        VEERAPANDIAN KALIMUTHU
                             VELMA C DOWDELL
                               VELMA L GAINES
                               VELON M WILLIS
                               VENETTA CHEW
                                VERA L SMITH
                                VERA L SMITH
                                VERDE E SYKES
                         VERENICE RENDON-TEJEDA
                             VERLINDA L GRANT
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 109 of 112 PageID #: 416


                            VERNARD L HUGHES
                              VERONA L BURNS
                             VERONICA C BLAIR
                             VERONICA C TINTO
                             VERONICA J ROWE
                             VERTIS M SEWARD
                            VEZINA R WILLIAMS
                                VICKI R HUFF
                                VICKI S ALAUF
                                 VICKI SMITH
                              VICKIE D CALLAIR
                           VICTOR N VILLALOBOS
                               VICTOR SHARP
                            VICTORIA D TAYLOR
                              VICTORIA PAYNE
                              VICTORIA R RODI
                             VICTORIA SCIOTTO
                           VIKKI L MCCOMISKEY
                               VILMA OCHOA
                          VINCENT M SANTARELLI
                          VINCENT M SANTARELLI
                              VINCENT R CITRO
                        VIOLETA LOPEZ-HERNANDEZ
                                VIREN L DIAL
                             VIRGINIA A CURTIS
                           VIRGINIA D PREWETT
                          VIRGINIA E SUNDERLIN
                             VIRGINIA L HONAN
                           VIRGINIA M GRANITZ
                             VIRGINIA ROGERS
                             VIRGINIA ROGERS
                            VIVIAN A MARSHALL
                            VIVIAN GOESSMAN
                            VONDA K SIMPSON
                             VONDA P DUDLEY
                               WADE JORDAN
                              WALEED S SHAMI
                              WALLACE HLAVA
                              WALLACE HLAVA
                          WALLACE J GREENFIELD
                               WALTER J SONS
                              WALTER L DOUE
                            WALTER L HELMUTH
                               WALTER SIGIN
                            WALTER SPURLOCK
                            WANDA G BELCHER
                            WANDA H JOHNSON
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 110 of 112 PageID #: 417


                            WANDA J MOORER
                           WANDA K YARNELL
                            WANDA NGUYEN
                            WANDA NGUYEN
                            WARD W WASSON
                           WARREN SULLIVAN
                           WAYNE J LOUVIERE
                           WAYNE THOMPSON
                         WENDELL N PENDLETON
                         WENDELLYN V STOUFFLET
                             WENDY A USREY
                             WENDY DUTTON
                            WENDY K WRIGHT
                             WENDY L BEHR
                             WENDY L JONES
                             WENDY L REESE
                            WENDY L ROGERS
                            WENDY M MEYER
                            WENDY N HOPPER
                           WENDY R QUINONES
                           WESLEY G LAPLANTE
                            WESLEY M JONES
                          WESLEY SMALLWOOD
                            WHITNEY N IDLETT
                           WHITNEY S BRANCH
                             WILENE P COOK
                         WILFREDO P FADRIQUELA
                          WILLIAM A VAUGHAN
                          WILLIAM B NEWMAN
                            WILLIAM BATISTA
                           WILLIAM BOOKLESS
                           WILLIAM BURLESON
                           WILLIAM C GARNER
                           WILLIAM C KIRKMAN
                           WILLIAM D PAPPAS
                           WILLIAM E ADWELL
                          WILLIAM E FRENTRESS
                            WILLIAM E PRATT
                          WILLIAM G ROBERSON
                          WILLIAM G ROBERSON
                          WILLIAM H BRANDON
                            WILLIAM J ENLOW
                            WILLIAM K DIXON
                            WILLIAM L DUNN
                           WILLIAM L MITCHELL
                          WILLIAM M RICKETSON
                           WILLIAM N MUSTAIN
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 111 of 112 PageID #: 418


                              WILLIAM P PARKS
                            WILLIAM R HANEY III
                           WILLIAM R TAYLOR JR
                           WILLIAM R TAYLOR JR
                           WILLIAM R TAYLOR JR
                            WILLIAM R WHITNEY
                            WILLIAM T BRADLEY
                            WILLIE A CHEATHON
                               WILLIE C GADDIS
                                WILLIE F PARKS
                               WILLIE J BYRUM
                           WILLIE L DENNARD JR
                               WILLIE L YOUNG
                             WILLIE R COGGINS
                              WILLIS S BARNETT
                              WILLIS S BARNETT
                              WILLISA J STREET
                               WINDY P KILROY
                              WINDY S CORRELL
                           WINFRED HATTON JR
                              WON H SULLIVAN
                              WONDA T MILLER
                            XEAN LYZA T KAZADI
                                YAIMA MILIAN
                           YANNICK A WILLIAMS
                                 YOGI L DAVIS
                           YOLANDA G CASTILLO
                            YOLANDA I BONILLA
                            YOLANDA L FULLARD
                              YOLANDA R MILES
                             YOLANDA U LEMUS
                          YOLANDER M JOHNSON
                                YOUNG H CHOI
                              YULIYA M STANEK
                           YVETTE D COLEY-RUFF
                             YVETTE D SHEPARD
                               YVETTE DARNELL
                               YVETTE E UNSER
                               YVETTE J BOSHA
                                YVETTE PLANES
                              YVETTE R FULLER
                           YVETTE R WORKMAN
                           YVONGELIA L HARLEE
                           YVONNE C COFFMAN
                             YVONNE F COOPER
                           YVONNE L CALLOWAY
                             YVONNE M SMITH
Case 1:23-mc-02113-HG Document 10-1 Filed 11/29/23 Page 112 of 112 PageID #: 419


                            YVONNE N CAPPS
                            ZACHARY A KIDD
                          ZACHARY M WAGNER
                          ZACHARY T BERGLAN
                           ZANDRA HAGGANS
                               ZANE A ALI
                             ZEE M ZANOW
                            ZENON P MICHEL
                            ZENON P MICHEL
                              ZOUA XIONG
